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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


In re:                                                                Case No. 3:16-bk-02230-PMG

RMS TITANIC, INC., et al.,1                                                      Chapter 11
                                                                           (Jointly Administered)
                           Debtors.



                 FIRST AMENDED JOINT CHAPTER 11 PLAN OF
                REORGANIZATIONLIQUIDATION PROPOSED BY
 THE OFFICIAL COMMITTEE OF Unsecured CreditorsUNSECURED CREDITORS,
  THE TRUSTEES OF THE NATIONAL MARITIME MUSEUM, THE BOARD OF
 TRUSTEES OF National museumSNATIONAL MUSEUMS AND GALLERIES OF
  northern ireland, and running subway productions, llcNORTHERN IRELAND, AND
                      RUNNING SUBWAY PRODUCTIONS, LLC

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          1
            The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions
Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions
International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867);
and Dinosaurs Unearthed Corp. (7309). The Debtors’ service address is 3045 Kingston Court, Suite I,
Peachtree Corners, Georgia 30071.



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Attorneys for the Trustees of the
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Dated: June 29August 28, 2018




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                                               INTRODUCTION

       The Official Committee of Unsecured Creditors in the above-captioned Chapter 11
Cases, the Trustees of the National Maritime Museum, the Board of Trustees of National
Museums and Galleries of Northern Ireland, and Running Subway Productions, LLC propose the
following joint plan pursuant to section 1121(a) of the Bankruptcy Code.2 The Plan
contemplates the sale of substantially all of the assets of the Debtors to the Trustees of the
National Maritime Museum, the Board of Trustees of National Museums and Galleries of
Northern Ireland, and Running Subway Productions, LLC, and the resolution of all outstanding
Claims against, and Interests in, the Debtors.

        Pursuant to section 1125(g) of the Bankruptcy Code, votes to accept or reject a plan of
reorganization may be solicited from holders of Claims or Interests entitled to vote on a plan if
such solicitation complies with applicable nonbankruptcy law and if such holder was solicited
before the commencement of the Chapter 11 Cases in a manner complying with applicable
nonbankruptcy law. The Disclosure Statement that accompanies the Plan contains, among other
things, a discussion of the Debtors’ history, businesses, properties, and operations and a
summary and analysis of the Plan and certain related matters.

I.     DEFINITIONS AND CONSTRUCTION OF TERMS

            A. Definitions

       Unless the context otherwise requires, the following terms used in the Plan shall have the
following meanings:

              “Acquisition Agreements” means the agreements to be entered into between the
Plan Sponsors and certain Debtors to effectuate the Sale (including all exhibits, schedules
(including the Schedule of Assumed Contracts and Leases), supplements, modifications,
amendments, appendices, annexes and attachments thereto) which will be filed with the Plan
Supplement.

                “Administrative Claim” means a Claim for costs and expenses of administration
of the Estates pursuant to sections 503(b), 507(a)(2), or 507(b) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses incurred after the Petition Date and
through the Effective Date of preserving and operating the Estates; (b) any indebtedness or
obligations incurred or assumed by the Debtors in connection with the conduct of their
businesses, including for wages, salaries, or commissions for services, and payments for goods
and other services and leased premises.

                “Administrative Claims Bar Date” means the first Business Day that is thirty
(30) days after the Effective Date.

                “Admiralty Court” means the United States District Court for the Eastern
District of Virginia.

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           Capitalized terms have the meanings ascribed to them in Article I.A of the Plan.
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                “Admiralty Court Proceeding” means the action styled R.M.S. Titanic, Inc. v.
The Wrecked and Abandoned Vessel (Civil No. 2:93-cv-902) pending before the Admiralty
Court relating to certain artifacts of the R.M.S. Titanic shipwreck.

                “Allowed” means, with reference to any Claim, (a) any Claim against any of the
Debtors that has been listed by the Debtors in the Schedules, as such Schedules may be amended
by the Debtors from time to time in accordance with Bankruptcy Rule 1009, as liquidated in
amount and not disputed or contingent, and with respect to which no contrary Proof of Claim has
been filed; (b) any Claim specifically allowed under this Plan; (c) a Claim asserted in a Proof of
Claim that was timely filed with the Court pursuant to the Bankruptcy Code, the Bankruptcy
Rules and/or any applicable Final Order, or late filed, but with leave of the Court, deemed
timely, and in either case, (i) is not objected to within the period fixed by Bankruptcy Code, the
Bankruptcy Rules, this Plan (including by the Claims Objection Deadline), the Confirmation
Order and/or applicable orders of the Court or (ii) has otherwise been allowed by Final Order; or
(d) any Claim the amount or existence of which, if such Claim is a Disputed Claim, (i) has been
determined by a Final Order of a court of competent jurisdiction other than the Court, or (ii) has
been allowed by Final Order of the Court; provided, however, that any Claims allowed solely for
the purpose of voting to accept or reject this Plan pursuant to an order of the Court shall not be
considered “Allowed Claims” hereunder.

               “Assumed Contracts and Leases” means those certain executory contracts and
unexpired leases entered into by the Debtors before the Petition Date which are (i) executory
and/or unexpired as of the Closing Date of the Sale and (ii) being assumed by the Debtors and
assigned to the Plan Sponsors pursuant to this Plan.

               “Available Cash” means all Unencumbered Cash held by the Liquidation Trust
(less any amounts maintained in any Reserve) after payment in full of all Allowed
Administrative Claims, Allowed Professional Fee Claims, Allowed Priority Tax Claims,
Allowed Other Priority Claims, DIP Financing Claims, Allowed Secured Claims, and the
reasonable fees, costs, and expenses of the Liquidation Trustee.

               “Avoidance Actions” means any Causes of Action pursuant to chapter 5and all
avoidance, recovery, subordination or other claims, actions or remedies that may be brought by
or on behalf of the Debtors or their Estates or other authorized parties in interest under the
Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies under
sections 502, 510, 542, 544, 545, 547 through and including 553 and 724(a) of the Bankruptcy
Code (other than those which are released or dismissed as part of and pursuant to the Plan).

                “Ballots” means each of the ballot forms distributed with the Disclosure
Statement to each holder of an Impaired Claim for, among other things, voting on the acceptance
or rejection of this Plan.

                 “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101
et seq., as in effect on the date hereof.




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               “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, and the local rules of the Court, as the context may require.

              “Bar Date” means October 24, 2016, except (a) in the case of an Administrative
Claim, Bar Date shall mean the Administrative Claims Bar Date; and (b) in the case of Claims of
a Governmental Unit, Bar Date shall mean the date that is 180 days after the Petition Date.

               “Business Day” means any day on which commercial banks are open for
business, and not authorized to close, in the City of New York, New York, except any day
designated as a legal holiday by Bankruptcy Rule 9006(a).

                   “Cash” means legal tender of the United States of America.

               “Causes of Action” means any and all actions, proceedings, causes of action
(including Avoidance Actions), suits, accounts, demands, controversies, agreements, promises,
rights to legal remedies, rights to equitable remedies, rights to payment, and claims, whether
known, unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
contingent, non-contingent, matured, unmatured, now-owned, hereafter acquired, disputed,
undisputed, secured, or unsecured, and whether asserted or assertable directly or derivatively in
law (whether domestic or foreign), equity, or otherwise, or pursuant to any other theory of law,
whether asserted or assertable directly or derivatively in law or equity or otherwise by way of
claim, counterclaim, cross-claim, third party action, action for indemnity or contribution or
otherwise, based in whole or in part upon any act or omission or other event occurring prior to
the Petition Date or during the course of the Chapter 11 Cases, including through the Effective
Date.

                   “Chapter 11 Cases” means the chapter 11 cases commenced by the Debtors.

             “Claim” means any claim, as such term is defined in section 101(5) of the
Bankruptcy Code.

                 “Claims Objection Deadline” means, as applicable (except for Administrative
Claims and Professional Fee Claims): (a) as to timely filed Claims (if not Allowed herein), the
day that is the later of (i) the first Business Day that is one hundred eighty (180) days after the
Effective Date, or (ii) as to Claims filed after the applicable Bar Date, the first Business Day that
is at least thirty (30) days after a Final Order is entered deeming the late filed Claims to be
treated as timely filed; or (b) such later date as may be established by the Court upon a motion by
the Debtors or Liquidation Trustee, without any further notice to other parties-in-interest.

                   “Class” means a group of Claims or Interests as classified under this Plan.

                   “Closing Date” shall have the meaning set forth in the Acquisition Agreements.

               “Collateral” means any property or interest in property of the Debtors’ Estates
subject to a Lien to secure the payment or performance of a Claim, which Lien has not been
avoided or is not subject to avoidance under the Bankruptcy Code or otherwise invalid under the
Bankruptcy Code or applicable state law.

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                   “Consenting Creditors” has the meaning set forth in the Plan Support
Agreement.

                   “Confirmation Date” means the date on which the Confirmation Order is entered
by the Court.

              “Confirmation Hearing” means the hearing conducted by the Court to consider
confirmation of this Plan pursuant to section 1128 of the Bankruptcy Code, as it may be
adjourned or continued from time to time.

               “Confirmation Order” means the order entered by the Court confirming this
Plan pursuant to section 1129 of the Bankruptcy Code.

               “Convenience Claim” means a General Unsecured Claim with a Face Amount of
less than the Convenience Claim Threshold.

                   “Convenience Claim Threshold” means $5,000.

               “Court” means (a) the United States Bankruptcy Court for the Middle District of
Florida, Jacksonville Division, having jurisdiction over the Chapter 11 Cases; and (b) with
respect to withdrawal of any reference under section 157 of title 28 of the United States Code,
with respect to the Chapter 11 Cases, the United States District Court for the Middle District of
Florida or the United States District Court to which venue is transferred.

                “Covenants and Conditions” means the conditions set forth in the Revised
Covenants and Conditions for the Future Disposition of Objects Recovered from the R.M.S.
Titanic by R.M.S. Titanic, Inc. pursuant to an in specie salvage award granted by the United
States District Court for the Eastern District of Virginia, attached as Exhibit A to the Admiralty
Court’s August 12, 2010 Opinion.

              “Creditors’ Committee” means the Official Committee of Unsecured Creditors
appointed by the United States Trustee in the Debtors’ Chapter 11 Cases, as constituted from
time to time.

               “Cure Amounts” means all amounts that must be paid by the Debtors and all
obligations that otherwise must be satisfied pursuant to section 365(b)(1)(A) of the Bankruptcy
Code in connection with the assumption and/or assignment of the Assumed Contracts and Leases
to the Plan Sponsors as provided in the Acquisition Agreements.

             “Debtors” means Premier Exhibitions, Inc., RMS Titanic, Inc., Premier
Merchandising, LLC, Premier Exhibition Management LLC, Arts and Exhibitions International,
LLC, Premier Exhibitions NYC, Inc., Premier Exhibitions International, LLC, and Dinosaurs
Unearthed Corp.

              “DIP Credit Agreement” means that certain Senior Secured Debtor-In-
Possession Loan Agreement dated as of May 18, 2017 by and among the Debtors, as borrowers,
and the DIP Lender.


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                “DIP Credit Documents” means the “DIP Loan Documents” under (and as
defined in) the DIP Credit Agreement.

               “DIP Credit Facility” means the multi-draw term loan credit facility established
in favor of the Debtors, as borrowers, in an aggregate principal amount of up to $5,000,000
pursuant to the DIP Credit Agreement and the other DIP Credit Documents.

                “DIP Financing Claims” means all Claims arising under or relating to the DIP
Credit Facility, whether pursuant to the DIP Credit Agreement, any other DIP Credit Document,
the Final DIP Order, or otherwise.

                   “DIP Lender” means Bay Point Capital Partners LP.

               “Disallowed” means a finding of the Court in a Final Order, or provision in the
Plan that a Disputed Claim shall not be Allowed.with reference to any Claim, all or that portion,
as applicable, of any Claim that has been disallowed under the Plan, the Bankruptcy Code,
applicable law or by a Final Order.

               “Disclosure Statement” means the written disclosure statement that relates to this
Plan, including all exhibits, appendices and schedules thereto, as approved by the Court pursuant
to section 1125 of the Bankruptcy Code and Bankruptcy Rule 3017, as such disclosure statement
may be amended, modified or supplemented from time to time.

               “Disputed Claim” means, with reference to any Claim, any Claim as to which the
Debtors or any other party in interest have filed an objection or request for estimation on or
before such limitation period fixed by this Plan, the Bankruptcy Code, the Bankruptcy Rules or
the Court, or that is otherwise disputed by the Debtors, Liquidation Trustee, or any party in
interest in accordance with applicable law, and which objection, request for estimation, or
dispute has not been withdrawn, with prejudice, or determined by Final Order.

               “Disputed Claims Reserve” shall have the meaning ascribed to such term in
Article VIII.D.3 of this Plan.

                “Distribution Date” means on or as soon as reasonably practicable after (i) the
Initial Distribution Date, and (ii) the first Business Day after the end of the months of June and
December, commencing with the first such date to occur more than ninety (90) days after the
Effective Date and continuing until the Final Distribution Date; provided, however, that a
Distribution Date (other than the Initial Distribution Date and the Final Distribution Date) shall
not occur if either (i) the aggregate value of the consideration to be distributed on such
Distribution Date is less than $250,000, or (ii) the Liquidation Trustee, with consent from the
Liquidation Trust Oversight Board as provided in the Liquidation Trust Agreement, determines
that it is in the best interest of the Liquidation Trust that no Distribution Date should occur,
which in either case the amount to be distributed shall be retained and added to the amount to be
distributed on the next Distribution Date.

                “Distributions” means the distribution in accordance with this Plan of (a) Cash
or (b) other form of consideration, as the case may be.


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                “Effective Date” means the first Business Day selected by the Creditors’
Committee, and the Plan Sponsors on which (i) all of the conditions specified in Article XI.A
and Article XI.B of this Plan have been satisfied or waived in accordance with Article XI.C of
this Plan, and (ii) the stay of the Confirmation Order, if any, is no longer in effect and such date
shall be set forth in a notice filed with the Court by the Debtors within five (5) Business Days of
the occurrence of the Effective Date.

              “Employee Benefit Plan” means any “employee benefit plan” (as defined in
ERISA § 3(3)) and any other benefit or compensation plan, program, agreement or arrangement
maintained, sponsored, or contributed or required to be contributed to by any Debtor or any
ERISA Affiliate or with respect to which any Debtor or any ERISA Affiliate has any liability.

                   “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

               “Equity Committee” means the Official Committee of Equity Security
holdersHolders of PRXI appointed by the United States Trustee in the Debtors’ Chapter 11
Cases, as constituted from time to time.

             “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time, and the regulations promulgated and rules issued thereunder.

               “ERISA Affiliate” means any Person that, at any relevant time, is or was treated
as a single employer with any Debtor for purposes of section 414 of the Internal Revenue Code.

                “Estates” means the Chapter 11 estates of the Debtors, individually or
collectively, as is appropriate in the context created by the commencement of and in the Chapter
11 Cases pursuant to section 541 of the Bankruptcy Code.

               “Face Amount” means, at any time, with respect to a particular Claim: (a) if the
holder of such Claim has not filed a Proof of Claim by the applicable Bar Date, the amount of
such Claim that is listed in the Schedules as noncontingent, undisputed and liquidated; (b) if the
holder of such Claim has filed a Proof of Claim by the applicable Bar Date, and such Claim has
not become an Allowed Claim or been estimated by Final Order of the Court, the amount stated
in such Proof of Claim; or (c) in all other cases, zero ($0) or such amount as shall be fixed or
estimated by a Final Order of the Court.

              “Federal Judgment Rate” means the rate of interest allowed on money
judgments in a civil case recovered in a district court as set forth in 28 U.S.C. § 1961.

              “Final Decree” means the final decree entered by the Court after the Effective
Date and pursuant to section 350(a) of the Bankruptcy Code and Bankruptcy Rule 3022.

              “Final DIP Order” means the order entered on July 12, 2017 by the United
States Bankruptcy Court for the Middle District of Florida, Jacksonville Division, authorizing the
Debtors to, among other things, enter into the DIP Credit Agreement and obtain loans under the
DIP Credit Facility.



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               “Final Distribution Date” means the date on which the Liquidation Trustee
makes the Final Distributionfinal distribution in accordance with the Plan.

               “Final Order” means an order or judgment of the Court, or other court of
competent jurisdiction, as entered on the docket of such court, the operation or effect of which
has not been stayed, reversed, vacated or amended, and as to which order or judgment (or any
revision, modification, or amendment thereof) the time to appeal, petition for certiorari, or seek
review or rehearing has expired and as to which no appeal, petition for certiorari, or petition for
review or rehearing was filed or, if filed, remains pending.

               “General Unsecured Claim” means aan unsecured Claim against any of the
Debtors that is not an Administrative Claim, Priority Tax Claim, Other Priority Claim,
Professional Fee Claim, DIP Financing Claim, Secured Claim, Intercompany Claim or
Convenience Claim, and shall include (a) pre-Petition Date Claims of vendors or customers of
the Debtors that are not priority claims under section 503(b)(9) of the Bankruptcy Code,
(b) Claims of employees of the Debtors that are not priority claims under section 507(a) of the
Bankruptcy Code, (c) Claims arising as a result of the rejection by any of the Debtors of
executory contracts or unexpired leases pursuant to section 365 and 502(g) of the Bankruptcy
Code, (d) Claims arising as a result of pre-Petition Date litigation against any of the Debtors, and
(e) Claims arising under section 502(h) of the Bankruptcy Code, if any.

             “Governmental Unit” has the meaning set forth in section 101(27) of the
Bankruptcy Code.

                 “Impaired” means, when used with reference to a Claim or Interest, a Claim or
Interest that is impaired within the meaning of section 1124 of the Bankruptcy Code.

               “Initial Distribution Date” means the Effective Date or as soon as reasonably
practicable thereafter.

               “Intercompany Claim” means any Claim held by one of the Debtors against any
other Debtor, including (a) any account reflecting intercompany book entries by a Debtor with
respect to any other Debtor, (b) any Claim not reflected in book entries that is held by such
Debtor against any other Debtor or Debtors, and (c) any derivative Claim asserted or assertable
by or on behalf of a Debtor against any other Debtor or Debtors.

               “Interest” means any equity security within the meaning of section 101(16) of the
Bankruptcy Code or any other instrument evidencing an ownership interest in any of the
Debtors, whether or not transferable, any option, warrant, or right, contractual or otherwise, to
acquire, sell or subscribe for any such interest, and any and all Claims that are otherwise
determined by the Court to be an Interest, including any Claim or debt that is recharacterized as
an Interest.

                   “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

               “Liquidation Trust” means the trust to be established in accordance with Article
VII.F of the Plan.


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               “Liquidation Trust Agreement” means the agreement to be executed between
the Liquidation Trustee and the Debtors establishing the Liquidation Trust, which will be filed
with the Plan Supplement.

               “Liquidation Trust Documents” means the Liquidation Trust Agreement and
any ancillary documents relating thereto.

               “Liquidation Trust Oversight Board” means the board established pursuant to
the Liquidation Trust Agreement and given certain oversight of the Liquidation Trust, the initial
composition of which shall be set forth in the Plan Supplement.

              “Liquidation Trustee” means the Person designated in the Liquidation Trust
Agreement to act as trustee the Liquidation Trust, or any successor of the Liquidation Trustee.

               “Other Priority Claim” means any Claim against any of the Debtors other than
an Administrative Claim, a Professional Fee Claim, a Priority Tax Claim or a DIP Financing
Claim that is entitled to priority in payment as specified in section 507(a)(3), (4), (5), (6), (7), or
(9) of Bankruptcy Code.

                “Person” means any individual, corporation, limited liability company, general
partnership, limited partnership, limited liability partnership, limited liability limited partnership,
association, joint stock company, joint venture, estate, trust, unincorporated organization,
Governmental Unit, or Entity.

                   “Petition Date” means June 14, 2016.

               “Plan” means this First Amended Joint Chapter 11 Plan of
ReorganizationLiquidation Proposed by the Official Committee of Unsecured Creditors, the
Trustees of the National Maritime Museum, the Board of Trustees of National Museums and
Galleries of Northern Ireland, and Running Subway Productions, LLC, as it may be amended or
modified from time to time, together with all addenda, exhibits, schedules or other attachments,
if any.

               “Plan Proponents” means the Creditors’ Committee, and the Trustees of the
National Maritime Museum, the Board of Trustees of National Museums and Galleries of
Northern Ireland, and Running SubwayPlan Sponsors.

            “Plan Sponsors” means the Trustees of the National Maritime Museum, the
Board of Trustees of National Museums and Galleries of Northern Ireland, and Running
Subway.

               “Plan Supplement” means the compilation of documents and forms of
documents, schedules, attachments and exhibits to this Plan, to be filed by the Plan Proponents
following the filing of this Plan as set forth herein, each of which documents and other materials
shall be acceptable in form and substance to the Plan Proponents.




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               “Plan Support Agreement” means that certain Plan Support Agreement dated as
of June 27, 2018 by and among the Creditors’ Committee, the Plan Sponsors, and the creditors
party thereto.

              “Priority Tax Claim” means any unsecured Claim that is entitled to a priority in
right of payment under section 507(a)(8) of the Bankruptcy Code.

               “Professional” means (i) any professional employed in the Chapter 11 Cases
pursuant to sections 327 and 1103 of the Bankruptcy Code and (ii) any other Person seeking
compensation or reimbursement of expenses in connection with the Chapter 11 Cases pursuant to
section 503(b) of the Bankruptcy Code.

               “Professional Fee Claim” means an Administrative Claim Allowed under section
330(a), 331 or 503 of the Bankruptcy Code for reasonable compensation of a Professional or
other Person for services rendered or expenses incurred in the Chapter 11 Cases on or prior to the
Effective Date (including the reasonable, actual and necessary expenses of the members of the
Creditors’ Committee or Equity Committee incurred as members of the Creditors’ Committee or
Equity Committee in discharge of their duties as such).

               “Pro Rata” means the proportion that an Allowed Claim in a particular Class
bears to the aggregate amount of Allowed Claims in that Class.

              “Proof of Claim” means a proof of Claim filed against any of the Debtors in the
Chapter 11 Cases.

              “Property” means all assets or property of the Debtors’ respective Estates of any
nature whatsoever, real or personal, tangible or intangible, including without limitation Sale
Proceeds, contract rights, accounts and Causes of Action, previously or now owned by the
Debtors, or acquired by the Debtors’ respective Estates, as defined in section 541 of the
Bankruptcy Code.

                   “PRXI” means Premier Exhibitions, Inc.

                   “PRXI Interest” means any Interest in PRXI.

              “Record Date” means, for purposes of (i) making distributions under this Plan on
account of Allowed Claims, the Effective Date, and (ii) casting Ballots, the date set forth in the
order approving the Disclosure Statement that accompanies this Plan.

                “Released Parties” means, in each case solely in its capacity as such, (a) the
Debtors, (b) the Consenting Creditors, (c) the Creditors’ Committee and Equity Committee and
the members thereof, (d) the Plan Sponsors, and (e) with respect to each of the foregoing
identified in clauses (b) through (d), each and all of their respective current and former affiliates,
and such entities’ and their current and former affiliates’ current and former directors, managers,
trustees, officers, direct and indirect equity holders, predecessors, successors, and assigns,
subsidiaries, and each of their respective current and former equity holders, officers, directors,
managers, principals, members, employees, agents, advisory board members, financial advisors,


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partners, attorneys, accountants, investment bankers, consultants, representatives, and other
professionals, each in their capacity as such.

                “Releasing Parties” means, in each case solely in its capacity as such, (a) the
Debtors, (b) the Consenting Creditors, (c) the Creditors’ Committee and Equity Committee and
the members thereof, (d) the Plan Sponsors, and (e) with respect to each of the foregoing
identified in clauses (b) through (d), each and all of their respective current and former affiliates,
and such entities’ and their current and former affiliates’ current and former directors, managers,
trustees, officers, direct and indirect equity holders, predecessors, successors, and assigns,
subsidiaries, and each of their respective current and former equity holders, officers, directors,
managers, principals, members, employees, agents, advisory board members, financial advisors,
partners, attorneys, accountants, investment bankers, consultants, representatives, and other
professionals, each in their capacity as such.

                   “RMST” means RMS Titanic, Inc.

                 “Reserve” means any reserve required or allowed to be established pursuant to
this Plan, including the Disputed Claims Reserve, and the Trust Expense Reserve.

                “Retained Actions” means all claims, Causes of Action, rights of action, suits
and proceedings, whether in law or in equity, whether known or unknown, which any Debtor or
any Debtor’s Estate may hold against any Person, including, without limitation, (i) claims and
Causes of Action brought prior to the Effective Date, (ii) claims and Causes of Action against
any Persons for failure to pay for products or services provided or rendered by any of the
Debtors, (iii) claims and Causes of Action relating to strict enforcement of any of the Debtors’
intellectual property rights, including patents, copyrights and trademarks, arising prior to the
Effective Date, (iv) claims and Causes of Action seeking the recovery of any of the Debtors’
accounts receivable or other receivables or rights to payment created or arising in the ordinary
course of any of the Debtors’ businesses, including, without limitation, claim overpayments and
tax refunds, and (v) all Avoidance Actions.

                   “Running Subway” means Running Subway Productions, LLC.

              “Sale” means the sale of substantially all of the Debtors’ assets to the Plan
Sponsors pursuant to the Acquisition Agreements.

               “Sale Proceeds” means, collectively, the proceeds arising from or in connection
with the Sale and the proceeds arising from or in connection with the sale, transfer, or other
disposition of any other Property, whenever arising or occurring, whether before or after the
Effective Date.

               “Schedule of Assumed Contracts and Leases” means the schedule listing
certain executory contracts and unexpired leases to be assumed by the Debtors and assigned to
any Plan Sponsor pursuant to the Acquisition Agreements.

                 “Schedules” means the schedules of assets and liabilities, statements of financial
affairs, lists of holders of Claims and Interests and related exhibits filed with the Court by each
of the Debtors, including any amendments or supplements thereto.

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                “Secured Claim” means any Claim to the extent reflected in the Schedules (but
only to the extent it is not listed as contingent, unliquidated, or disputed) or a Proof of Claim
(which such Proof of Claim shall supersede the Schedules) filed as a secured Claim, which is
(i) secured by a Lien on Collateral to the extent of the value of such Collateral, as determined in
accordance with section 506(a) of the Bankruptcy Code, or, (ii) in the event that such Claim is
subject to setoff under section 553 of the Bankruptcy Code, to the extent of such setoff.

                    “Securities Act” means the Securities Act of 1933, as amended.

                “Trust Expense Reserve” shall have the meaning ascribed to such term in
Article VII.F.5 of this Plan

               “Unclaimed Property” means any Distribution of Cash or any other Property
made to the holder of an Allowed Claim pursuant to the Plan that is returned to the Debtors or
the Liquidation Trustee as undeliverable and no appropriate forwarding address is received prior
to the date on which the Final Decree is entered in the Chapter 11 Cases, in the case of a
distribution made in the form of a check, is not negotiated and no request for reissuance is made
as provided for in Article VII.J of the Plan.

              “Unencumbered” means, any Property not subject to (i) a Lien or (ii) a charge to
use such Property for a particular purpose pursuant to the Acquisition Agreements.

            “Unencumbered Sale Proceeds” means the Sale Proceeds, if any, that are
Unencumbered.

                  “Unimpaired” means, when used with reference to a Claim or Interest, a Claim
or Interest that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

                B. Interpretation, Application of Definitions and Rules of Construction

        Wherever from the context it appears appropriate, each term stated in either the singular
or the plural shall include both the singular and plural, and pronouns stated in the masculine,
feminine or neuter gender shall include the masculine, feminine and neuter, such meanings to be
applicable to both the singular and plural forms of the terms defined. Capitalized terms in this
Plan that are not defined herein shall have the same meanings assigned to such terms by the
Bankruptcy Code or Bankruptcy Rules, as the case may be. The words “herein,” “hereof,” and
“hereunder” and other words of similar import refer to this Plan as a whole and not to any
particular section or subsection in this Plan unless expressly provided otherwise. The words
“includes” and “including” are not limiting and mean that the things specifically identified are
set forth for purposes of illustration, clarity or specificity and do not in any respect qualify,
characterize or limit the generality of the class within which such things are included. Captions
and headings to Articles, Sections and exhibits to this Plan are inserted for convenience of
reference only, are not a part of this Plan, and shall not be used to interpret this Plan. The rules
of construction set forth in section 102 of the Bankruptcy Code shall apply to this Plan. Unless
otherwise specified or required by context, references in this Plan to any right or obligation to
take any action or not take any action given to the Debtors, the Liquidation Trust, the Liquidation
Trustee or any similar references shall be interpreted to give such right or obligation to the


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Debtors prior to the Effective Date and to the Liquidation Trust or Liquidation Trustee
subsequent to the Effective Date.

      All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided.

II.        CLASSIFICATION OF CLAIMS AND INTERESTS

                A. General Rules of Classification

        Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of the
Classes of Claims and Interests. In accordance with section 1123(a)(1) of the Bankruptcy Code,
Administrative Claims, Professional Fee Claims, Priority Tax Claims, and DIP Financing Claims
have not been classified. These Claims will be Unimpaired and, therefore, will not be entitled to
vote to accept or reject this Plan. A Claim or Interest is placed in a particular Class only to the
extent that the Claim or Interest falls within the description of that Class and is classified in other
Classes to the extent that any portion of the Claim or Interest falls within the description of such
other Classes. A Claim is placed in a particular Class for the purpose of receiving Distributions
pursuant to this Plan only to the extent that such Claim is an Allowed Claim in that Class and
such Claim has not been paid, released, or otherwise settled prior to the Effective Date.

                B. Classification of Claims and Interests

        The following table designates the Classes of Claims against and Interests in the Debtors
and specifies which of those Classes are (i) Impaired or Unimpaired under this Plan, (ii) entitled
to vote to accept or reject this Plan, and (iii) presumed to accept or deemed to reject this Plan. A
Claim or Interest is designated in a particular Class only to the extent it falls within the
description of that Class, and is classified in any other Class to the extent (if any) that a portion
of such Claim or Interest falls within the description of such other Class.

   Class                  Designation                        Status                Voting Rights
       1       Other Priority Claims                     Unimpaired            Presumed to Accept
       2       Secured Claims                            Unimpaired            Presumed to Accept
       3       General Unsecured Claims                     Impaired           Entitled to Vote
       4       Convenience Claims                        Unimpaired            Presumed to Accept
       5       Intercompany Claims                          Impaired           Deemed to Reject
       6       PRXI Interests                               Impaired           Deemed to Reject

III.       TREATMENT OF UNCLASSIFIED CLAIMS

                A. Administrative Claims

      Each holder of an Allowed Administrative Claim (other than a Professional Fee Claim
and DIP Financing Claim) shall receive from the Debtors (a) Cash in an amount equal to the
amount of such Allowed Administrative Claim on the later of (i) the Effective Date and (ii) the


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date such Administrative Claim becomes an Allowed Administrative Claim, or as soon thereafter
as isas reasonably practicable thereafter, or (b) such other treatment as (i) the Debtors or the
Liquidation Trustee (as applicable) and (ii) such holder shall have agreed upon in writing.

                B. Bar Date for Administrative Claims

        Unless a prior date has been established pursuant to the Bankruptcy Code, the
Bankruptcy Rules or a prior order of the Court, the Confirmation Order will establish a bar date
for filing applications or motions for allowance of Administrative Claims (other than
Professional Fee Claims and DIP Financing Claims), which date shall be the Administrative
Claims Bar Date. HOLDERS OF ADMINISTRATIVE CLAIMS NOT PAID PRIOR TO
THE CONFIRMATION DATE SHALL FILE WITH THE COURT AND SERVE UPON
THE DEBTORS OR LIQUIDATION TRUSTEE, AS APPLICABLE, A MOTION
REQUESTING PAYMENT OF SUCH ADMINISTRATIVE CLAIM ON OR BEFORE
THE ADMINISTRATIVE CLAIMS BAR DATE OR FOREVER BE BARRED FROM
DOING SO. The notice of entry of the Confirmation Order to be delivered pursuant to
Bankruptcy Rules 3020(c) and 2002(f) will set forth the Administrative Claims Bar Date and
constitute good and sufficient notice of the Administrative Claims Bar Date. The Liquidation
Trustee shall have sixty (60) days (or such longer period as may be allowed by Final Order of the
Court, which may be entered without notice or a hearing) following the Administrative Claims
Bar Date to review and object to all Administrative Claims (other than Professional Fee Claims
and DIP Financing Claims).

        Notwithstanding the foregoing, requests for payment of Administrative Claims need not
be filed for Administrative Claims that (a) previously have been Allowed by Final Order of the
Bankruptcy Court, (b) the Debtors or Liquidation Trustee have otherwise agreed in writing do
not require such a filing or (c) arise pursuant to 28 U.S.C. § 1930.

                C. Professional Fee Claims

        All requests for compensation or reimbursement of Professional Fee Claims pursuant to
sections 328, 330, 331, or 503 of the Bankruptcy Code for services rendered prior to the
Effective Date shall be filed and served on the Debtors, counsel to the Debtors, the Office of the
United States Trustee, the Liquidation Trustee, counsel to the Liquidation Trustee, and such
other entities who are designated by the Bankruptcy Rules, the Confirmation Order or other
order of the Court, no later than thirty (30) days after the Effective Date. Holders of Professional
Fee Claims that are required to file and serve applications for final allowance of their
Professional Fee Claims and that do not file and serve such applications by the required deadline
shall be forever barred from asserting such Claims against the Debtors or their respective
properties, and such Professional Fee Claims shall be deemed discharged as of the Effective
Date. Objections to any Professional Fee Claims must be filed and served no later than twenty
(20) days following the filing with the Court of any request for compensation or reimbursement
of Professional Fee Claims and be served on the Debtors, counsel for the Debtors, counsel to the
Creditors’ Committee, the Liquidation Trustee, counsel to the Liquidation Trustee, and the
holders of Professional Fee Claims requesting payment. Distributions on account of Allowed
Professional Fee Claims shall be made as soon as reasonably practicable after such Claims
become Allowed.


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                D. Priority Tax Claims

         Each holder of an Allowed Priority Tax Claim shall receive (a) treatment in any manner
that is consistent with section 1129(a)(9)(C) of the Bankruptcy Code, or (b) such other treatment
as the Debtors and such holder shall have agreed upon in writing.

                E. DIP Financing Claims

        The DIP Financing Claims shall be Allowed in an amount equal to the sum of all
amounts outstanding under the DIP Credit Agreement as of the Effective Date. On or as soon as
reasonably practicable after the Effective Date, each holder of an Allowed DIP Financing Claim
shall receive from the Debtors’ Cash in an amount equal to the amount of such Allowed DIP
Financing Claim.

IV.       TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

                A. Class 1 – Other Priority Claims

                    1.    Classification. Class 1 consists of all Other Priority Claims.

                    2.    Treatment. Except to the extent that a holder of an Allowed Other
                          Priority Claim (i) has been paid in full by the Debtors, prior to the
                          Effective Date or (ii) agrees shall have agreed in writing to a less
                          favorable treatment or an alternative Distribution Date, each holder of an
                          Allowed Other Priority Claim shall receive, in full and final satisfaction of
                          and in exchange for such Other Priority Claim, Cash in the full amount of
                          such Allowed Other Priority Claim, on or as soon as reasonably
                          practicable after the later of (a) the Effective Date and (b) the date when
                          such Other Priority Claim becomes Allowed.

                    3.    Impairment and Voting. Class 1 is Unimpaired under this Plan. Holders
                          of Allowed Other Priority Claims in Class 1 are conclusively presumed to
                          have accepted this Plan pursuant to section 1126(f) of the Bankruptcy
                          Code and, therefore, are not entitled to vote to accept or reject this Plan.

                B. Class 2 – Secured Claims

                    1.    Classification. Class 2 consists of all Secured Claims.

                    2.    Treatment. Except to the extent that a holder of an Allowed Secured
                          Claim shall have agreed in writing to a less favorable treatment or an
                          alternative Distribution Date, in full and final satisfaction of such Claim,
                          on or as soon as reasonably practicable after the later of (a) the Effective
                          Date and (b) the first Distribution Date when such Secured Claim becomes
                          Allowed, such holder of an Allowed Secured Claim shall receive (i) Cash
                          in an amount equal to such Allowed Secured Claim, including any non-
                          default interest on such Allowed Secured Claim required to be paid
                          pursuant to section 506(b) of the Bankruptcy Code, (ii) the Collateral

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                          securing its Allowed Secured Claim and any interest on such Allowed
                          Secured Claim required to be paid pursuant to section 506(b) of the
                          Bankruptcy Code, or (iii) treatment in any other manner such that its
                          Allowed Secured Claim shall not be Impaired.

                          To the extent any security interest relating to an Secured Claim is avoided
                          or any portion of the Secured Claim is determined to be unsecured,
                          including due to any deficiency (the “Secured Lenders’ Unsecured
                          Claim”), the Secured Lenders’ Unsecured Claim shall be classified in
                          Class 3 as General Unsecured Claims and receive the same treatment as
                          other Class 3 Claims; provided, however, that any Secured Lenders’
                          Unsecured Claim held by an insider shall be classified as a separate Class
                          and shall receive its Pro Rata share of Available Cash contemporaneous
                          with the other General Unsecured Claims as if such Secured Lenders’
                          Unsecured Claim had been classified in Class 3 until such Secured
                          Lenders’ Unsecured Claim is paid in full with interest at the Federal
                          Judgment Rate.

                   3.     Impairment and Voting. Class 2 is Unimpaired under this Plan. Holders
                          of Allowed Secured Claims in Class 2 are conclusively presumed to have
                          accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code
                          and, therefore, are not entitled to vote to accept or reject this Plan.

                C. Class 3 – General Unsecured Claims

                   1.     Classification. Class 3 consists of all General Unsecured Claims.

                   2.     Treatment. Except to the extent a holder of a General Unsecured Claim
                          shall have agreed in writing to a less favorable treatment or an alternative
                          Distribution Date, on or as soon as reasonably practicable after the later of
                          (a) the Effective Date and (b) the first Distribution Date when such
                          General Unsecured Claim becomes Allowed, each holder of an Allowed
                          General Unsecured Claim shall receive its Pro Rata share of Available
                          Cash. On each subsequent Distribution Date or as soon thereafter as isas
                          reasonably practicable thereafter, the Liquidation Trustee shall continue to
                          distribute to holders of Allowed General Unsecured Claims their
                          respective Pro Rata shares of any Available Cash until (i) such Claims are
                          paid in full with interest at the Federal Judgment Rate or (ii) the Final
                          Distribution Date.

                          Each holder of a General Unsecured Claim may elect to be treated as a
                          holder of a Convenience Claim by electing to reduce the amount of its
                          Allowed General Unsecured Claim to the Convenience Claim Threshold in
                          full and final satisfaction of such claim. Any such election must be made on
                          the Ballot and shall be considered irrevocable.




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                    3.     Impairment and Voting. Class 3 is Impaired under this Plan. Holders of
                           Allowed General Unsecured Claims in Class 3 are entitled to vote to
                           accept or reject this Plan.

                D. Class 4 – ConvenienceIntercompany Claims

                    1.     Classification. Class 4 consists of all ConvenienceIntercompany Claims.

                    2. Treatment. Except to the extent that a holder of an Allowed Convenience
                           Claim shall have agreed in writing to a less favorable treatment or an
                           alternative Distribution Date, on or as soon as practicable after the later of
                           (a) the Effective Date and (b) the first Distribution Date when such
                           Convenience Claim becomes Allowed, each holder of an Allowed
                           Convenience Claim shall receive, in full and final satisfaction of such
                           Claim, Cash in the full amount of such Allowed Convenience Claim.

                    3. Impairment and Voting. Class 4 is Impaired under this Plan. Holders of
                          Allowed Convenience Claims in Class 4 are conclusively presumed to
                          have accepted this Plan pursuant to section 1126(f) of the Bankruptcy
                          Code and, therefore, are not entitled to vote to accept or reject this Plan.

          E. Class 5 – Intercompany Claims

                    1. Classification. Class 5 consists of all Intercompany Claims.

                    2.     Treatment. On the Effective Date, all Intercompany Claims shall be
                           cancelled in full, and holders of Intercompany Claims shall receive no
                           distribution and retain no Property on account of such Claims.

                    3.     Impairment and Voting. Class 54 is Impaired under this Plan. Holders
                           of Intercompany Claims are deemed to have rejected this Plan pursuant to
                           section 1126(g) of the Bankruptcy Code and, therefore, are not entitled to
                           vote to accept or reject this Plan.

                E. F. Class 65 – PRXI Interests

                    1.     Classification. Class 65 consists of all PRXI Interests.

                    2.     Treatment. On the Effective Date, the PRXI Interests shall be
                           discharged, cancelled, released, and extinguished and holders of PRXI
                           Interests shall neither receive any Distributions nor any of the Debtors’
                           Property under this Plan.

                    3.     Impairment and Voting. Class 65 is Impaired under this Plan. Holders
                           of PRXI Interests are deemed to have rejected this Plan pursuant to section
                           1126(g) of the Bankruptcy Code and, therefore, are not entitled to vote to
                           accept or reject this Plan.



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V.        LIMITED CONSOLIDATION FOR VOTING, CONFIRMATION, AND
          DISTRIBUTION PURPOSES

       Solely for purposes of voting on, confirmation of, and Distributions to be made to holders
of Allowed Claims under this Plan, this Plan is predicated upon, and it is a condition precedent to
confirmation of this Plan, that the Court provide in the Confirmation Order for the limited
consolidation of the Estates of the Debtors into a single Estate for purposes of this Plan, the
confirmation hereof and Distributions hereunder.

        Pursuant to the Confirmation Order (i) all assets and liabilities of the consolidated
Debtors will be deemed to be merged solely for purposes of this Plan, the confirmation hereof
and Distributions to be made hereunder, (ii) the obligations of each Debtor will be deemed to be
the obligation of the consolidated Debtors solely for purposes of this Plan, the confirmation
hereof and Distributions hereunder, (iii) any Claims filed or to be filed in connection with any
such obligations will be deemed Claims against the consolidated Debtors and all Claims filed
against more than one Debtor for the same liability shall be deemed one Claim against any
obligation of the consolidated Debtors, (iv) each Claim filed in the Chapter 11 Case of any
Debtor will be deemed filed against the Debtors in the consolidated Chapter 11 Cases in
accordance with the limited consolidation of the assets and liabilities of the Debtors, (v) all
transfers, disbursements and Distributions made by any Debtor hereunder on Allowed Claims
and will be deemed to be made by the consolidated Debtors, and (vi) all guarantees of the
Debtors of the obligations of any other Debtors shall be deemed eliminated so that any Claim
against any Debtor and any guarantee thereof executed by any other Debtor and any joint or
several liability of any of the Debtors shall be deemed to be one obligation of the consolidated
Debtors. Holders of Allowed Claims in each Class shall be entitled to their share of Property
available for Distribution to such Class without regard to which Debtor was originally liable for
such Claim.

        Notwithstanding the foregoing, such limited consolidation shall not affect (a) any
obligations under any contracts or leases that were entered into during the Chapter 11 Cases or
executory contracts or unexpired leases that have been or will be assumed and assigned pursuant
to the Acquisition Agreements, (b) distributions from any insurance policies or proceeds of such
policies, or (c) guarantees that are required to be maintained post-Effective Date (i) in connection
with executory contracts or unexpired leases that were entered into during the Chapter 11 Cases
or that have been, or will hereunder be, assumed and assigned, or (ii) pursuant to the express
terms of this Plan. The limited consolidation proposed herein shall not affect each Debtor’s
obligation to file the necessary operating reports and pay any required fees pursuant to 28 U.S.C.
§ 1930(a)(6). Such obligations shall continue until a Final Order is entered closing, dismissing
or converting each such Debtor’s Chapter 11 Case.

VI.       PROVISIONS REGARDING ACCEPTANCE OR REJECTION OF PLAN;
          CRAMDOWN

                A. Elimination of Vacant Classes

      Any Class of Claims or Interests that is not occupied as of the commencement of the
Confirmation Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest


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temporarily allowed under Bankruptcy Rule 3018, and as to which no vote is cast, shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for
purposes of determining acceptance or rejection of the Plan by such Class pursuant to section
1129(a)(8) of the Bankruptcy Code.

                B. Cramdown

        If all applicable requirements for confirmation of the Plan are met as set forth in section
1129(a) of the Bankruptcy Code except subsection (8) thereof, the Debtors may request that the
Court confirm the Plan in accordance with section 1129(b) of the Bankruptcy Code,
notwithstanding the requirements of section 1129(a)(8) thereof, on the bases that the Plan is fair
and equitable, and does not discriminate unfairly, with respect to each Class of Claims or
Interests that is Impaired under, and has not accepted, the Plan.

VII.      PROVISIONS REGARDING MEANS OF IMPLEMENTATION,
          DISTRIBUTIONS, AND RESOLUTION OF DISPUTED CLAIMS

                A. Sale Approval and Consummation

         Confirmation of this Plan and the Confirmation Order shall constitute approval of the sale
of substantially all of the Debtors’ assets to the Plan Sponsors, free and clear of all Claims,
Interests, Liens, contractually imposed restrictions, charges, other encumbrances, and liabilities
of any kind or nature whatsoever, including rights or claims based on any successor or transferee
liabilities, pursuant to the Acquisition Agreements included with the Plan Supplement. The
terms of this Article VII.A shall be binding on and enforceable against all Persons as a
permanent injunction pursuant to Article X.E hereof.

       Upon entry of the Confirmation Order, the Debtors shall be authorized and directed to
(a) consummate the Sale without any further order of the Court, subject to applicable law and the
terms and conditions of the Acquisition Agreements, and to take any and all actions necessary to
consummate the Sale, and (b) execute the Acquisition Agreements.

       On the Effective Date the Sale Proceeds to be made available to the Debtors and their
Estates shall vest with the Liquidation Trust in accordance with Article VII.F and be used to
make Distributions under this Plan.

                B. Timing of Distributions

        Except as specifically set forth in the Plan and as otherwise provided in this Article VII,
Distributions to be made on the Effective Date to holders of Claims that are Allowed as of the
Effective Date will be deemed made on the Effective Date if made on the Effective Date or as
promptly thereafter assoon as reasonably practicable thereafter. Distributions on account of
Claims that become Allowed after the Effective Date will be made pursuant to Article VII.E of
the Plan. In the event that any payment or act under this Plan is required to be made or
performed on a date that is not a Business Day, the making of such payment or the performance
of such act may be completed on or as soon as reasonably practicable after the next succeeding
Business Day, but shall be deemed to have been completed as of the required date.


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                C. Record Date for Distributions

       As of the close of business on the Record Date, no party can transfer a Claim. Neither
the Debtors nor the Liquidation Trustee shall have any obligation to recognize any transfer of
Claims occurring after the Record Date.

                D. Distributions to Holders of Allowed Claims

        The Liquidation Trustee shall make all Distributions required under the Plan in a manner
consistent with the Plan. Distributions shall only be made to the record holders of Allowed
Claims as of the Record Date. On the Record Date, at the close of business for the relevant
register, all registers maintained by the Debtors, Liquidation Trustee and each of the foregoing’s
respective agents, successors and assigns shall be deemed closed for purposes of determining
whether a holder of such a Claim is a record holder entitled to distributions under the Plan. If a
Claim is transferred 20 or fewer calendar days before the Record Date, the Liquidation Trustee
shall make distributions to the transferee only if the transfer form contains an unconditional and
explicit certification and waiver of any objection to the transfer by the transferor.

        The Liquidation Trustee shall make all Distributions required under the Plan in a manner
consistent with the Plan. If any dispute arises as to the identity of a holder of an Allowed Claim
who is to receive any Distribution, the Liquidation Trustee shall, as appropriate and in lieu of
making such Distribution to such holder, delay such Distribution until the disposition thereof
shall be determined by Final Order of the Court or by written agreement among the interested
parties to such dispute.

                E. Distributions After Allowance

        As soon as practicable after (i) the occurrence of the applicable Claims Objection
Deadline, if no objection to such Claim has been timely filed, or (ii) the Disputed Claim becomes
an Allowed Claim, the Debtors or the Liquidation Trustee, as the case may be, will distribute to
the holder thereof all Distributions to which such holder is then entitled under this Plan. All
Distributions made under this Article of the Plan will be made together with any dividends,
payments, or other Distributions made on account of, as well as any obligations arising from, the
distributed property as if such Claim had been an Allowed Claim on the dates Distributions were
previously made to Allowed holders included in the applicable Class.

                F.   Liquidation Trust

                      1.       Appointment of the Liquidation Trustee. The entry of the
Confirmation Order shall ratify the selection of the Liquidation Trustee. The Liquidation Trust
Documents, in the form annexed to the Plan Supplement, are hereby incorporated by reference in
their entirety and made an integral part of the Plan.

                     2.      Creation of the Liquidation Trust. On the Effective Date, the
Liquidation Trust shall be established pursuant to the Liquidation Trust Documents for the
purpose of, among other things, (i) prosecuting those Causes of Action for which the Equity
Committee was granted derivative standing to pursue, and additional causes of action belonging
to the Debtors’ estates, as appropriate, (ii) administering, monetizing and/or liquidating the

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Property of the Debtors, (iii) resolving all Disputed Claims, (iv) making all Distributions from
the Liquidation Trust, and (v) prosecuting and defending appeals of the Confirmation Order as
provided for in the Plan, Disclosure Statement, and the Liquidation Trust Documents. The
Liquidation Trust shall have no objective to continue or engage in the conduct of a trade or
business, except to the extent reasonably necessary to and consistent with the liquidating purpose
of the Liquidation Trust and the Plan. The term of the Liquidation Trust shall not exceed five
years from the date of creation of the Liquidation Trust, provided that, if warranted, and subject
to the approval of the Court, the term of the Liquidation Trust may be extended for a finite term.
Each extension shall be approved by the Court within six months of the extended term.

                      3.       Vesting and Transfer of Property to the Liquidation Trust. The
Liquidation Trust shall be established to receive certain Property of the Debtors and to distribute
such Property to certain holders of Claims in accordance with the Plan. Except as otherwise
expressly provided in the Plan, pursuant to sections 1123(a)(5), 1123(b)(3) and 1141(b) of the
Bankruptcy Code, all Property comprising the Estates of the Debtors not conveyed to the Plan
Sponsors under the Acquisition Agreements shall automatically vest in the Liquidation Trust,
free and clear of all Claims, Liens, contractually imposed restrictions, charges, encumbrances
and Interests of Creditorscreditors and holders of Interests on the Effective Date, with all such
Claims, Liens, contractually-imposed restrictions, charges, encumbrances and Interests being
extinguished subject to the rights of holders of Other Priority Claims, Secured Claims, and
General Unsecured Claims to obtain Distributions provided for in this Plan. Notwithstanding the
foregoing, the Debtors or the Liquidation Trustee may determine to retain certain Property in the
Debtors for convenience or in the best interests of the Liquidation Trust, with beneficial
ownership, but not legal title, of such assets passing to the Liquidation Trust upon the Effective
Date.

                        4.     Grantor Trust.      The Liquidation Trust shall qualify as a
Liquidation Trust as described in Treasury Regulation section 301.7701-4(d) and shall be treated
as a grantor trust for United States federal income tax purposes. The Creditors’ Committee (with
the consent of the Debtors, which consent shall not be unreasonably withheld) shall appoint the
Liquidation Trustee, who shall have the authority to manage the day-to-day operations of the
Liquidation Trust, including, without limitation, by disposing of the Property of the Liquidation
Trust, appearing as a party in interest, calculating distributions, paying taxes and such other
matters as more particularly described in this Article VII of the Plan and the Liquidation Trust
Agreement.

                       5.    Liquidation Trust Expenses. Expenses of the Liquidation Trust,
including the expenses of the Liquidation Trustee and his representatives and professionals, will
be satisfied from the assets of the Liquidation Trust and its proceeds, as set forth in the
Liquidation Trust Agreement, in each case in accordance with the Plan. Court approval shall not
be required for the payment of any expenses of the Liquidation Trust unless the Liquidation
Trust Oversight Board objects to the payment of any such expenses, in which case the Court
shall determine any amount to be paid. The Liquidation Trustee shall be authorized to establish a
reserve, in an amount determined in the reasonable discretion of the Liquidation Trustee in
consultation with the Liquidation Trust Oversight Board, to fund the expected expenses of the
Liquidation Trust (the “Trust Expense Reserve”).


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                         6.    General Powers of the Liquidation Trustee. The rights and
 powers of the Liquidation Trustee are specified in the Liquidation Trust Documents. Except as
 expressly set forth in this Plan or the Disclosure Statement, and in the Liquidation Trust
 Agreement, the Liquidation Trustee shall administer the Liquidation Trust and its assets in
 accordance with this Plan, the Liquidation Trust Agreement, and the other Liquidation Trust
 Documents and shall be responsible for, among other things, making certain distributions
 required under this Plan. From and after the Effective Date and continuing through the date of
 entry of a Final Decree, the Liquidation Trustee shall: (a) possess the rights of a party in
 interest pursuant to section 1109(b) of the Bankruptcy Code for all matters arising in, arising
 under, or related to the Chapter 11 Cases and, in connection therewith, shall (i) have the right
 to appear and be heard on matters brought before the Court or other courts, (ii) be entitled to
 notice and opportunity for hearing on all such issues, (iii) participate in all matters brought
 before the Court, and (iv) receive notice of all applications, motions, and other papers and
 pleadings filed in the Court; (b) have the authority to act on behalf of the Debtors’ Estates in all
 adversary proceedings and contested matters pending in the Court and in all actions and
 proceedings pending elsewhere; and (c) have the authority to retain such personnel or
 professionals (including, without limitation, legal counsel, financial advisors or other agents)
 as it deems appropriate and compensate such personnel and professionals as it deems
 appropriate, all without prior notice to or approval of the Court.

                        7.     Substitution of Liquidation Trustee for the Debtors and Equity
Committee. After the Effective Date, the Liquidation Trustee shall be deemed to be substituted
as the party in lieu of the Debtors and Equity Committee (a) in all pending matters including but
not limited to (i) motions, contested matters and adversary proceedings pending in the Court, and
(ii) all matters pending in any courts, tribunals, forums or administrative proceedings outside of
the Court without the need or requirement for the Liquidation Trustee to file motions or
substitutions of parties and counsel, and (b) in taking any and all actions necessary to
consummate the Sale.

                         8.    Liquidation Trust Oversight Board.

                     (a)     The Liquidation Trust Oversight Board shall be formed and
constituted upon execution of the Liquidation Trust Agreement. The Liquidation Trust
Oversight Board shall have the right, but shall not be required, to fill any vacancy that arises for
any reason in accordance with the Liquidation Trust Agreement. The initial members of the
Liquidation Trust Oversight Board shall be set forth in the Plan Supplement.

                      (b)     Liquidation Trust Oversight Board Membersmembers shall be
entitled to reimbursement of their actual and reasonable out of pocket expenses as a Liquidation
Trust Oversight Board Membermember. The Liquidation Trust shall pay the actual and
reasonable out of pocket expenses of Liquidation Trust Oversight Board Membersmembers in
accordance with the Liquidation Trust Agreement and without approval or order of the Court,
unless the Liquidation Trust Oversight Board or Liquidation Trustee objects to all or part of the
fees and expenses, in which case the allowance of the disputed portion shall be determined by
the Court.




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                     (c)     The Liquidation Trustee shall regularly consult with the
Liquidation Trust Oversight Board regarding the prosecution and/or settlement of Estate Causes
of Action and other matters. The Liquidation Trustee shall report to the Liquidation Trust
Oversight Board on a regular basis. The Liquidation Trustee shall seek approval from the
Liquidation Trust Oversight Board regarding the prosecution and/or settlement of each Estate
Cause of Action and other matters as set forth in the Liquidation Trust Agreement.

                      (d)     A Liquidation Trust Oversight Board Member shall recuse
him/herself from participation in decision-making by the Liquidation Trust Oversight Board on
matters in which such member has a conflict of interest.

                G. Delivery of Distributions

         Distributions to holders of Allowed Claims shall be made by the Liquidation Trustee (a)
at the last known addresses of such holders or (b) at the addresses set forth in any written notices
of address changes delivered to the Debtors or the Liquidation Trustee, as appropriate. If any
holder’s Distribution is returned as undeliverable, no further Distributions to such holder shall be
made unless and until the Liquidation Trustee is notified of such holder’s then current address, at
which time all missed Distributions shall be made to such holder without interest.

                H. Method of Cash Distributions

        Any Cash payment to be made pursuant to the Plan may be made by Cash, draft, check,
wire transfer, or as otherwise required or provided in any relevant agreement or applicable law at
the option of the Liquidation Trustee.

                I.   Failure to Negotiate Checks

        Checks issued in respect of distributions under the Plan shall be null and void if not
negotiated within ninety (90) days after the date of issuance. Any amounts returned to the
Liquidation Trustee in respect of such non-negotiated checks shall be forwarded to (if necessary)
and held by the Liquidation Trustee, as the case may be. Requests for reissuance for any such
check shall be made directly to the issuer of the check by the holder of the Allowed Claim with
respect to which such check originally was issued within such 90-day-period. All amounts
represented by any voided check will be held until the earlier of: (a) one (1) month after the date
on which the check is voided, or (b) the date on which the Court enters the Final Decree, and all
requests for reissuance by the holder of the Allowed Claim in respect of a voided check are
required to be made prior to such date. Thereafter, all such amounts shall be deemed to be
Unclaimed Property, in accordance with Article VII.J of the Plan, and all holders of Claims in
respect of void checks shall be forever barred, estopped and enjoined from asserting a claim to
such funds in any manner against the Debtors or their respective assets, the Liquidation Trustee
or the Liquidation Trust notwithstanding any federal or state escheat laws to the contrary. In such
case, any Cash held for payment on account of such Claims shall revert to the Liquidation Trust,
free and clear of any restrictions thereon except as provided elsewhere in the Plan.




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                J.   Unclaimed Property

        All Property distributed on account of Allowed Claims must be claimed prior to the date
on which the Court enters the Final Decree, or, in the case of a Distribution made in the form of a
check, must be negotiated and a request for reissuance be made as provided for in Article VII.I
of the Plan. All Unclaimed Property will be retained by and will vest in the Liquidation Trust to
be subsequently distributed in accordance with Article IV of this Plan. All full or partial
payments made by the Liquidation Trustee and received by the holder of a Claim prior to the
Effective Date will be deemed to be payments under the Plan for purposes of satisfying the
obligations of the Debtors or the Liquidation Trustee pursuant to the Plan. Nothing contained in
the Plan shall require the Debtors or the Liquidation Trustee to attempt to locate any holder of an
Allowed Claim other than by reviewing the records of the Debtors and any Claims filed in the
Chapter 11 Cases. All Claims in respect of Unclaimed Property shall be deemed Disallowed and
the holder of any Claim Disallowed in accordance with this Article VII.J will be forever barred,
expunged, estopped and enjoined from asserting such Claim in any manner against the Debtors
or their respective assets, the Liquidation Trustee or the Liquidation Trust notwithstanding any
federal or state escheat laws to the contrary.

                K. No Distributions on Late-Filed Claims

        Except as otherwise provided herein or in a Final Order of the Court, any Claim as to
which a Proof of Claim was required to be filed and was first filed after the applicable Bar Date
in the chapter 11 Cases, including, without limitation, any Bar Date established in the Plan or in
the Confirmation Order, shall automatically be deemed a late-filed Claim that is Disallowed in
the chapter 11 Cases, without the need for (a) any further action by the Liquidation Trustee or (b)
an order of the Court. Nothing in this paragraph is intended to expand or modify the applicable
Bar Dates or any orders of the Court relating thereto.

                L. Limitation on Distribution Rights

       If a claimant holds more than one Claim in any one Class, all Claims of the claimant in
that Class will be aggregated into one Claim and one distribution will be made with respect to
the aggregated Claim.

                M. Fractional Dollars

        Notwithstanding any other provision of the Plan, Cash distributions of fractions of dollars
will not be made; rather, whenever any payment of a fraction of a dollar would be called for, the
actual payment made shall reflect a rounding of such fraction to the nearest whole dollar (up or
down), with half dollars being rounded down. To the extent that Cash remains undistributed as a
result of the rounding of such fraction to the nearest whole cent, such Cash shall be treated as
Unclaimed Property pursuant to Article VII.J of this Plan.

                N. De Minimis Distributions

        The Liquidation Trustee shall not be required to, but may in its discretion, make
distributions to any holder of an Allowed Claim of Cash in an amount less than fifty dollars
($50).

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                O. Compliance With Tax Requirements

        In connection with each Distribution with respect to which the filing of an information
return (such as an Internal Revenue Service Form 1099 or 1042) or withholding is required, the
Debtors or the Liquidation Trustee shall file such information return with the Internal Revenue
Service and provide any required statements in connection therewith to the recipients of such
distribution or effect any such withholding and deposit all moneys so withheld as required by
law. The Debtors or the Liquidation Trustee shall not be required to make a Distribution with
respect to any Person until the Debtor or the Liquidation Trustee, as appropriate, receives such
Person’s tax identification number, certified tax identification number, or other tax information
required by law to avoid withholding (including, without limitation, a form W-8 or W-9).

                P.   Character of Distributions

       To the extent that any Allowed Claim entitled to a Distribution under the Plan comprises
indebtedness and accrued but unpaid interest thereon, such Distribution shall, to the extent
permitted by applicable law, be allocated for income tax purposes to the principal amount of the
Claim first and then, to the extent that the consideration exceeds the principal amount of the
Claim, to the portion of such Claim representing accrued but unpaid interest.

                Q. No Payment or Distribution Pending Allowance

        All references to Claims and amounts of Claims refer to the amount of the Claim
Allowed by agreement of the Debtors or the Liquidation Trustee and the holder of such Claim,
by operation of law, by Final Order, or by this Plan. Notwithstanding any other provision in the
Plan, no payment or Distribution shall be made on account of or with respect to any Claim to the
extent it is a Disputed Claim unless and until the Disputed Claim becomes an Allowed Claim.

                R. Distributions on Insured Claims

         If any holder has asserted a Claim that is covered as to liability, in whole or in part, by an
insurance policy that is assumed or otherwise remains in effect pursuant to the terms of this Plan,
such holder will have an Allowed Claim entitled to a Distribution under this Plan only to the
extent of any deductible or self-insured retention under the applicable insurance policy that was
unpaid or otherwise unexhausted as of the Petition Date. Notwithstanding the foregoing, the
holder shall be entitled to pursue recovery of any amount in excess of such unpaid deductible or
self-insured retention from the applicable insurance carrier, and, in connection therewith, such
holder may continue to pursue the balance of such Claim against the Debtors solely for the
purposes of liquidating such Claim and obtaining payment of the balance of such liquidated
Claim from any otherwise applicable insurance policy. Except as otherwise provided in the
applicable insurance policy, the applicable insurance carrier may, at its expense, employ counsel,
direct the defense, and determine whether and on what terms to settle any Claim for the purposes
of determining the amount of insurance proceeds that will be paid on account of such Claim. If
after liquidation of a Claim pursuant to this Section, it is determined that there are insufficient
insurance proceeds available to satisfy the amount of such Claim that is in excess of any unpaid
deductible or self-insured retention, then the holder of such Claim shall have an Allowed Claim
in the amount of such insufficiency.


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                S.   Corporate Action

        The entry of the Confirmation Order shall constitute authorization and direction for the
Debtors to take or to cause to be taken all corporate and limited liability company actions
necessary or appropriate to consummate and implement the provisions of the Plan prior to, on
and after the Effective Date, and all such actions taken or caused to be taken shall be deemed to
have been authorized and approved by the Court. All such actions shall be deemed to have
occurred and shall be in effect pursuant to applicable non-bankruptcy law and the Bankruptcy
Code, without any requirement of further action by the stockholders or directors of the Debtors.
On the Effective Date, the appropriate officers and managers of the Debtors are authorized and
directed to execute and deliver the agreements, documents and instruments contemplated by the
Plan and the Plan Supplement in the name and on behalf of the Debtors.

                T. Cancellation of Existing Securities and Agreements

        Except for the purpose of evidencing a right to Distribution under the Plan and except as
otherwise set forth in the Plan, on the Effective Date, (1) the obligations of the Debtors under
any membership interest, certificate, share, note, bond, indenture, purchase right, option, warrant,
or other instrument or document directly or indirectly evidencing or creating any indebtedness or
obligation of or ownership interest in the Debtors giving rise to any Claim or Interest shall be
cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be
fully released, and (2) the obligations of the Debtors pursuant, relating, or pertaining to any
agreements, indentures, certificates of designation, bylaws, or certificate or articles of
incorporation or similar documents governing the membership interests, certificates, notes,
bonds, indentures, purchase rights, options, warrants, or other instruments or documents
evidencing or creating any indebtedness or obligation of the Debtors (except such agreements,
certificates, notes, or other instruments evidencing indebtedness or obligations of the Debtors
that are specifically reinstated pursuant to this Plan) shall be released and discharged; provided,
however, notwithstanding confirmation of this Plan or the occurrence of the Effective Date, any
agreement that governs the rights of the holder of a Claim or Interest shall continue in effect
solely for purposes of allowing holders to receive Distributions under this Plan as provided
herein.

VIII. PRESERVATION OF CAUSES OF ACTION AND RIGHT TO DEFEND AND
      CONTEST

                A. Preservation of Rights

        Except to the extent that any Claim is Allowed during the Chapter 11 Cases or expressly
by this Plan, the Acquisition Agreements, or the Confirmation Order, nothing, including, but not
limited to, the failure of the Debtors to object to a Claim for any reason during the pendency of
the Chapter 11 Cases, shall affect, prejudice, diminish or impair the rights and legal and
equitable defenses of the Debtors or the Liquidation Trustee with respect to any Claim,
including, but not limited to, all rights of the Debtors or the Liquidation Trustee to contest or
defend themselves against such Claims in any lawful manner or forum when and if such Claim is
sought to be enforced by the holder thereof.



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                B. Causes of Action

        Except as otherwise provided in this Plan, the Acquisition Agreements or the
Confirmation Order, in accordance with section 1123(b)(3) of the Bankruptcy Code, the
Liquidation Trustee (as a representative of the Debtors’ Estates) will retain and may exclusively
enforce any Retained Actions subject only to any express waiver or release thereof in the Plan or
in any other contract, instrument, release, indenture or other agreement entered into in
connection with the Plan, and the Confirmation Order’s approval of the Plan shall be deemed a
res judicata determination of such rights to retain and exclusively enforce such Retained
Actions, and none of such Retained Actions is deemed waived, released or determined by virtue
of the entry of the Confirmation Order or the occurrence of the Effective Date, notwithstanding
that the specific Retained Actions are not identified or described. Absent such express waiver or
release by the Debtors, the Liquidation Trustee may pursue Retained Actions, as appropriate, in
accordance with the best interests of the Liquidation Trust.

         Absent an express waiver or release as referenced above, nothing in the Plan shall (or is
intended to) prevent, estop or be deemed to preclude the Liquidation Trustee from utilizing,
pursuing, prosecuting or otherwise acting upon all or any of its Retained Actions and, therefore,
no preclusion doctrine, including, without limitation, the doctrines of res judicata, collateral
estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise) or laches
shall apply to such Retained Actions upon or after the Confirmation Date, the Effective Date or
the consummation of the Plan. By example only, and without limiting the foregoing, the
utilization or assertion of a Retained Action, or the initiation of any proceeding with respect
thereto against a Person, by the Liquidation Trustee shall not be barred (whether by estoppel,
collateral estoppel, res judicata or otherwise) as a result of (a) the solicitation of a vote on the Plan
from such Person or such Person’s predecessor in interest; (b) the Claim, Interest or
Administrative Claim of such Person or such Person’s predecessor in interest having been listed
in a Debtor’s Schedules, list of holders of Interests, or in the Plan, Disclosure Statement or any
exhibit thereto; (c) prior objection to or allowance of a Claim or Interest of the Person or such
Person’s predecessor in interest; or (d) entry of the Confirmation Order. No Person may rely on
the absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure
Statement to any Cause of Action against them as an indication that the Debtors will not
pursue any and all available Causes of Action against them. The Debtors expressly reserve
all rights to prosecute any and all Causes of Action against any Entity, except as otherwise
expressly provided herein.

       Notwithstanding any allowance of a Claim, the Debtors or the Liquidation Trustee
reserve the right to seek, among other things, to have such Claim Disallowed if the Debtor or the
Liquidation Trustee, as the case may be, at the appropriate time, determines that it has a defense
under section 502(d) of the Bankruptcy Code, e.g., the Debtor or the Liquidation Trustee holds
an Avoidance Action against the holder of such Claim and such holder after demand refuses to
pay the amount due in respect thereto.

                C. Setoffs

       Except to the extent that any Claim is Allowed, the Debtors or the Liquidation Trustee, as
applicable, may, but shall not be required to, set off against any Claims and the payments or


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distributions to be made pursuant to the Plan in respect of such Claims, any and all debts,
liabilities, Causes of Action and claims of every type and nature whatsoever which the Estates,
the Debtors or the Liquidation Trustee may have against such creditors, but neither the failure to
do so nor the allowance of any such Claims, whether pursuant to the Plan or otherwise, shall
constitute a waiver or release by the Debtors or the Liquidation Trustee of any such claims or
Causes of Action the Debtors or the Liquidation Trustee may have against such creditors, and all
such claims and Retained Actions which are not expressly released, conveyed or compromised
pursuant to the Plan or the Acquisition Agreements shall be conveyed to the Liquidation Trust.

                D. Resolution of Disputed Claims

                       1.      Objections to Claims. Unless otherwise ordered by the Court after
notice and a hearing, the Liquidation Trustee, and other parties in interest to the extent provided
by section 502(a) of the Bankruptcy Code, on and after the Effective Date, shall have the right to
file objections to Claims (except those specifically Allowed by this Plan) and shall serve a copy
of each such objection upon the holder of the Claim to which the objection is made as soon as
practicable, but in no event later than the applicable Claims Objection Deadline. The foregoing
deadlines may be extended by order of the Court without notice. An objection to any Claim shall
be deemed properly served on the holder thereof if the Liquidation Trustee effects service in any
of the following manners: (a) in accordance with Rule 4 of the Federal Rules of Civil Procedure,
as modified and made applicable by Federal Rule of Bankruptcy Procedure 7004; (b) by first
class mail, postage prepaid, on the signatory on the proof of claim or other representative
identified in the Proof of Claim or any attachment thereto; or (c) by first class mail postage
prepaid, on any counsel that has appeared on the holder’s behalf in the Chapter 11 Cases.

                      2.      Settlement of Disputed Claims. After the Effective Date, the
Liquidation Trustee, with consent of the Liquidation Trust Oversight Board (which consent shall
not be unreasonably withheld), may settle or compromise any Disputed Claim without approval
of the Court upon written notice to the Office of the United States Trustee; provided, that, (a) the
Liquidation Trustee shall promptly file with the Court a written notice of any settlement or
compromise of a Claim that results in an Allowed Claim in excess of $500,000 and (b) the Office
of the United States Trustee shall be authorized to contest the proposed settlement or
compromise (whether such settlement is above or below $500,000) by filing a written objection
with the Court and serving such objection on the Liquidation Trustee within twenty (20) days of
the service of the proposed settlement notice. If no such objection is filed, the applicable
settlement or compromise shall be deemed final without further action of the Court.

                        3.     Establishment of Disputed Claims Reserve. In connection with the
Distributions required to be made under the Plan, on the Effective Date or as soon as reasonably
practicable thereafter (and in accordance with the provisions of this Plan), the Liquidation
Trustee shall reserve Cash allocated for distribution on account of each Disputed Claim based on
the Face Amount of each such Disputed Claim, plus 10% of the Face Amount on account of
interest attributable to any such General Unsecured Claim, or such lesser or greater amount as
may be agreed to by the holder of the Claim and the Debtors or Liquidation Trustee (the
“Disputed Claims Reserve”). All Cash or other property allocable to the relevant Class hereunder
with respect to the Disputed Claims shall be allocated for records keeping purposes only (and not
as a separate or distinct fund or account and without interest), to the Disputed Claims Reserve.

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The Liquidation Trustee shall have no duty to fund, or to set aside any separate account for the
Disputed Claims Reserve.

       Payments on any Disputed Claim that becomes an Allowed Claim shall be distributed as
soon as practicable after the Claim is Allowed (and consistent with the provisions of this Plan).
Distributions shall be made only to the extent of the aggregate distributions that the holder of any
Allowed Claim would have received had such Claim been Allowed as of the Effective Date (less
any taxes paid with respect to the amounts held in the Disputed Claims Reserve). Distributions to
each holder of a Disputed Claim that has become an Allowed Claim (and to the extent that the
holder of the Disputed Claim has not received prior Distributions on account of that Claim) shall
be made in accordance with the provisions of the Plan governing the Class of Claims in which
the Claim is classified.

        The Disputed Claims Reserve shall no longer be necessary at the earlier of (i) when all
Disputed Claims have been resolved, or (ii) when all Distributions and other dispositions of Cash
or other property required to be made therefrom under the Plan have been made.

                     4.     Cash Held in Disputed Claims Reserve. Cash held in the Disputed
Claims Reserve shall be held by the Liquidation Trustee in trust for the benefit of holders of
Allowed Claims.

                       5.      Interest on Disputed Claims. Unless otherwise specifically
provided for in this Plan or as otherwise required by sections 506(b), 511 or 1129(a)(9)(C)-(D) of
the Bankruptcy Code, interest shall not accrue or be paid on any Disputed Claim in respect of the
period from the Effective Date to the date a final Distribution is made when and if such Disputed
Claim becomes Allowed.

                        6.     Estimation of Claims. The Debtors or the Liquidation Trustee may
at any time request that the Court estimate any Disputed Claim pursuant to section 502(c) of the
Bankruptcy Code or other applicable law regardless of whether the Debtors or the Liquidation
Trustee have previously objected to such Claim or whether the Court has ruled on any such
objection. In the event that the Court estimates any Disputed Claim, such estimated amount shall
constitute either (a) the Allowed amount of such Claim, (b) the amount on which a reserve is to
be calculated for purposes of any reserve requirement to this Plan or (c) a maximum limitation
on such Claim, as determined by the Court. If the estimated amount constitutes a maximum
limitation on such Claim, the Debtors or the Liquidation Trustee, as applicable, may pursue
supplementary proceedings to object to the allowance of such Claim. Claims may be estimated
and subsequently compromised, settled, withdrawn or resolved by any mechanism approved by
the Court.

                      7.     No Recourse. Notwithstanding that the Allowed amount or
estimated amount of any particular Disputed Claim is reconsidered under the applicable
provisions of the Bankruptcy Code and Bankruptcy Rules and, as a result of such reconsideration
is Allowed in an amount for which there is insufficient value in the relevant fund or reserve to
provide a recovery equal to that received by other holders of Allowed Claims in the relevant
Class, no such Claim holder shall have recourse to the Debtors and their Estates, the Liquidation
Trust or the Liquidation Trustee, or any member or manager thereof, any of the respective


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Professionals of any of them, the holder of any other Claim, or any of the respective property of
any of the foregoing.

        However, nothing in the Plan shall modify any right of a holder of a Claim under section
502(j) of the Bankruptcy Code.

IX.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES; INDEMNIFICATION
          OBLIGATIONS; BENEFIT PROGRAMS

                A. Treatment of Executory Contracts and Unexpired Leases

        All executory contracts and unexpired leases of the Debtors shall be deemed rejected by
the Debtors as of the Effective Date, except for any executory contract or unexpired lease that:
(a) has previously been assumed, assumed and assigned, or rejected pursuant to an order of the
Court on or prior to the Confirmation Date or (b) is set forth on a Schedule of Assumed
Contracts and Leases filed in connection with the Acquisition Agreements.

       The assumption, assumption and assignment, and rejection of executory leases and
unexpired contracts under this Plan shall be governed by the terms of the Acquisition
Agreements and other orders of the Court.

                B. Cure of Defaults for Assumed Contracts and Leases

       The cure of all defaults under executory contracts and unexpired leases to be assumed
and assigned under the Acquisition Agreements, including the resolution of all objections to the
adequacy of assurance of future performance under such contracts and leases and as to the
adequacy of amounts proposed to cure defaults under such contracts and leases, shall be
governed by the terms and conditions of the Acquisition Agreements and orders of the Court.

                C. Bar Date for Claims for Rejection Damages

        Claims arising out of the rejection of any executory contract or unexpired lease pursuant
to Article IX of the Plan must be filed with the Court no later than the earlier of (a) thirty (30)
days after the Effective Date, or (b) thirty (30) days after the entry of an order rejecting such
executory contract or unexpired lease (including, without limitation, the Confirmation Order).
Any Claim not filed within such time period shall be forever barred. The Debtors, the
Liquidation Trustee, and other parties in interest to the extent provided by section 502(a) of the
Bankruptcy Code shall have the right to object to any Claim arising out of the rejection of an
executory contract or unexpired lease pursuant to the terms of Article VIII.D of this Plan.

                D. Treatment of Rejection Claims

        The Court shall determine any objections filed in accordance with Article VIII.D hereof
at a hearing to be held on a date to be determined by the Court. Subject to any statutory
limitation, including, but not limited to the limitations contained in sections 502(b)(6) and
502(b)(7) of the Bankruptcy Code, any Claims arising out of the rejection of executory contracts
and unexpired leases shall, pursuant to section 502(g) of the Bankruptcy Code, be treated as
Class 3 Claims in accordance with Article IV of the Plan.

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                E. Employment Agreements and Benefit Programs

                        1.     Employment Agreements. Except to the extent previously rejected
by an order of the Court on or before the Effective Date, all employment and severance
agreements between the Debtors and their employees entered into before or after the Petition
Date and not since terminated, shall be deemed to be, and shall be treated as though they are,
executory contracts that are rejected under Article IX.A of the Plan, except for any such
employment agreement that is specifically assumed under Article IX.A of the Plan. Any Claim
arising out of such rejection shall be treated in accordance with Article IX.D of the Plan.

                       2.      Employee Benefit Plans. Except and to the extent previously
rejected by an order of the Court on or before the Effective Date or included in the Additional
Assumed Contracts Schedule, all Employee Benefit Plans entered into before or after the Petition
Date and not since terminated, shall be deemed to be, and shall be treated as though they are,
executory contracts that are rejected under Article IX.A of the Plan. Any Claim arising out of
such rejection shall be treated in accordance with Article IX.D of the Plan.

                F.   Survival of Certain Indemnification Obligations.

        Notwithstanding any other provision of this Plan, the obligations of the Debtors pursuant
to their certificates or articles of incorporation, bylaws and other organizational documents to
indemnify persons serving after the Petition Date as officers, directors, agents, or employees of
the Debtors with respect to actions, suits and proceedings against the Debtors or such officers,
directors, agents, or employees, based upon any act or omission for, on behalf of, or relating to
the Debtors and occurring prior to or after the Petition Date, shall continue (and shall not be
discharged or impaired by the confirmation of the Plan).

X.        EFFECT OF CONFIRMATION OF THIS PLAN

                A. Continued Corporate Existence

        Each Debtor will continue to exist after the Effective Date as a separate corporate or
limited liability company entity, with all of the powers of a corporation under applicable law in
the jurisdiction in which it is incorporated or otherwise formed and pursuant to its certificate or
articles of incorporation and by-laws or other organizational documents in effect prior to the
Effective Date, without prejudice to the right of the Liquidation Trustee to dissolve (subject to its
obligations under this Plan) under applicable law and file a certificate of dissolution (or its
equivalent) with the secretary of state or similar official of the jurisdiction of incorporation after
the Effective Date, provided that the Liquidation Trustee shall be under no obligation to dissolve
any Debtor. Notwithstanding any other provision of this Plan, all Interests of the Debtors as of
the Effective Date shall be cancelled and terminated along with any and all rights of voting,
management, or control of the Debtors. Upon the Effective Date, a single Interest with respect to
each Debtor shall be issued to and held by the Liquidation Trustee, and each such Interest shall
have all rights of control, voting, and management with respect to the affairs of each respective
Debtor. Immediately upon the Effective Date, all board members, managers, directors, officers,
or any other Persons or bodies exercising control over the affairs of the Debtors shall be



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terminated and have no further right or authority or obligation to direct the affairs of the Debtors,
such authority being vested solely with the Liquidation Trustee.

                B. Releases by the Debtors of Certain Parties

        Effective as of the Effective Date, pursuant to section 1123(b)(3) of the Bankruptcy
Code, for good and valuable consideration, including their cooperation and contributions
to the Chapter 11 Cases, the adequacy of which is hereby confirmed, to the fullest extent
permissible under applicable law, as such law may be extended or integrated after the
Effective Date, on and after the Effective Date, each Released Party is deemedshall be
deemed to have been conclusively, absolutely, unconditionally, irrevocably and forever
released and discharged by each and all of the Debtors and their Estates, in each case on
behalf of themselves and their respective successors, assigns, and representatives, and any
and all other Entities who may purport to assert any Cause of Action, directly or
derivatively, by, through, for, or, because of the foregoing entities, from any and all Claims,
Interests, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
whatsoever, including any derivative claims, asserted or assertable on behalf of any of the
Debtors or their Estates, as applicable, whether known or unknown, foreseen or
unforeseen, asserted or unasserted, existing or hereinafter arising, in law, equity, or
otherwise, whether for tort, fraud, contract, violations of federal or state laws or otherwise,
including Avoidance Actions, those Causes of Action based on veil piercing or alter-ego
theories of liability, contribution, indemnification, joint liability or otherwise, that the
Debtors or their Estates or affiliates would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the holder of any Claim against,
or Interest in, a Debtor or other Entity, based on or relating to, or in any manner arising
from, in whole or in part, the Debtors, the purchase, sale, or rescission of any security of
the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between any
Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, the
restructuring transactions, the Chapter 11 Cases, the formulation, preparation,
dissemination, negotiation, filing, implementation, administration, confirmation, or
consummation of the Plan Support Agreement, the Disclosure Statement, the DIP Credit
Facilities, the DIP Credit Documents, the Sale, the Plan (including, for the avoidance of
doubt, the Plan Supplement), or any restructuring transaction, contract, instrument,
release, or other agreement or document created, modified, amended, or entered into in
connection with the Plan Support Agreement, the Disclosure Statement, the DIP Credit
Facilities, the DIP Credit Documents, the Sale (including, for the avoidance of doubt, the
Acquisition Agreements), or the Plan, the filing of the Chapter 11 Cases, the pursuit of
confirmation of the Plan, the pursuit of “substantial consummation” (as defined in section
1101(2) of the Bankruptcy Code), the pursuit of the Sale, the administration and
implementation of the Plan, or the distribution of property under the Plan or any other
related agreement, or upon any other related act or omission, transaction, agreement,
event, or other occurrence taking place on or before the Effective Date. Notwithstanding
anything to the contrary in the foregoing or in this Plan, the releases set forth above do not
release any post-Effective Date obligations of any party or Entity under the Plan, any
transaction described herein, or any document, instrument, or agreement (including those
set forth in the Plan Supplement) executed to implement the Plan.

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       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the release described in this Article X.B, which
includes by reference each of the related provisions and definitions contained in this Plan,
and further, shall constitute the Bankruptcy Court’s finding that the release described in
this Article X.B is: (1) in exchange for the good and valuable consideration provided by the
Released Parties, (2) a good-faith settlement and compromise of such claims released by the
release described in this Article X.B; (3) in the best interests of the Debtors and all holders
of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after due
notice and opportunity for hearing; and (6) a bar to any of the Debtors or their respective
Estates asserting any claim, Cause of Action, or liability related thereto, of any kind
whatsoever, against any of the Released Parties or their property, released pursuant to the
release described in this Article X.B.

       Nothing in this Article X.B shall release the Released Parties from any claim based
on any act or omission that constitutes gross negligence or willful misconduct as
determined by Final Order. The Liquidation Trustee shall be bound, to the same extent
that the Debtors are bound, by the releases and discharges set forth above.

                C. Releases by Non-Debtors

        Effective as of the Effective Date, for good and valuable consideration, the adequacy
of which is hereby confirmed, including the obligations of the Debtors under the Plan and
the contributions of the Released Parties to facilitate and implement the Plan, the adequacy
of which is hereby confirmed, to the fullest extent permissible under applicable law, as such
law may be extended or integrated after the Effective Date, on and after the Effective Date,
each of the Releasing Parties shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever, released and discharged each Released Party
from any and all claims, interestsClaims, Interests, obligations, rights, suits, damages,
Causes of Action, remedies, and liabilities whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise,
including any derivative claims, asserted or assertable on behalf of any of the Debtors, or
their Estates, that such Entity as applicable, whether known or unknown, foreseen or
unforeseen, asserted or unasserted, existing or hereinafter arising, in law, equity, or
otherwise, whether for tort, fraud, contract, violations of federal or state laws or otherwise,
including Avoidance Actions, those Causes of Action based on veil piercing or alter-ego
theories of liability, contribution, indemnification, joint liability or otherwise that such
Releasing Party would have been legally entitled to assert in their own right (whether
individually or collectively), based on or relating to, or in any manner arising from, in
whole or in part, the Debtors, the purchase, sale, or rescission of any security of the
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between any
Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, the
restructuring transactions, the Chapter 11 Cases, the formulation, preparation,
dissemination, negotiation, filing, implementation, administration, confirmation, or
consummation of the Plan Support Agreement, the Disclosure Statement, the DIP Credit
Facilities, the DIP Credit Documents, the Sale, the Plan (including, for the avoidance of
doubt, the Plan Supplement), or any restructuring transaction, contract, instrument,

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release, or other agreement or document created, modified, amended or entered into in
connection with the Plan Support Agreement, the Disclosure Statement, the DIP Credit
Facilities, the DIP Credit Documents, the Sale (including, for the avoidance of doubt, the
Acquisition Agreements), or the Plan, the filing of the Chapter 11 Cases, the pursuit of
confirmation and/or consummation of the Plan, the pursuit of “substantial consummation”
(as defined in section 1101(2) of the Bankruptcy Code), the pursuit of the Sale, the
administration and implementation of the Plan, or the distribution of property under the
Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date. Notwithstanding anything to the contrary in the foregoing or in this Plan, the
releases set forth above do not release any post-Effective Date obligations of any party or
Entity under the Plan, any restructuring transaction described herein, or any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan.

       Nothing in this Article X.C shall release (i) any obligations of the Debtors of
Liquidation Trustee arising under this Plan, or (ii) any of the Released Parties from any
claim based on any act or omission that constitutes gross negligence or willful misconduct
as determined by Final Order.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the release described in this Article X.C, which
includes by reference each of the related provisions and definitions contained in this Plan,
and further, shall constitute the Bankruptcy Court’s finding that the release described in
this Article X.C is: (1) in exchange for the good and valuable consideration provided by
the Released Parties, (2) a good-faith settlement and compromise of claims released by the
release described in this Article X.C; (3) in the best interests of the Debtors and all holders
of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after due
notice and opportunity for hearing; and (6) a bar to any of the Releasing Parties asserting
any claim, Cause of Action, or liability related thereto, of any kind whatsoever, against any
of the Released Parties or their property, released pursuant to the release described in this
Article X.C.

                D. Exculpation

       Effective as of the Effective Date, to the fullest extent permissible under applicable
law and without affecting or limiting the releases described in Articles X.B and X.C, and
notwithstanding anything herein to the contrary, each Released Party is hereby released
and exculpated from any Claim, obligation, Cause of Action, or liability for (a) any
prepetition action taken or omitted to be taken, whether prepetition or postpetition, in
connection with, or related to, formulating, negotiating, or preparing the Plan or the Plan
Support Agreement, or (b) any postpetition action taken or omitted to be taken in
connection with, or related to formulating, negotiating, soliciting, preparing, disseminating,
confirming, administering, or implementing the Plan, or consummating the Plan (including
the Plan Support Agreement), the Disclosure Statement, the Sale and the Acquisition
Agreements, and/or the DIP Credit Facility, or any contract, instrument, release, or other
agreement or document created, modified, amended, or entered into in connection with the

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Plan (including, for the avoidance of doubt, providing any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document, or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the
Confirmation Order in lieu of such legal opinion) or any other postpetition act taken or
omitted to be taken in connection with or in contemplation of the restructuring of the
Debtors, in each case except for actual fraud, willful misconduct, or gross negligence in
connection with the Plan or the Chapter 11 Cases, each solely to the extent as determined
by a Final Order of a court of competent jurisdiction; provided, however, that in all respects
such Entities shall be entitled to reasonably rely upon the advice of counsel and financial
advisors with respect to their duties and responsibilities pursuant to the Plan Support
Agreement and the Plan. Each Released Party has, and upon completion of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws
with regard to the restructuring of Claims and Interests in the Chapter 11 Cases and in
connection with the transactions contemplated herein, including the Sale, the negotiation,
formulation, or preparation of the agreements, instruments, or other documents pursuant
to the Plan, and the solicitation and distribution of the Plan and, therefore, is not, and on
account of such distributions shall not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or such distributions made pursuant to the Plan. Notwithstanding the foregoing,
this exculpation shall not release any obligation or liability of any party under the Plan or
any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan.

                E. Injunction

       Except as otherwise expressly provided in this Plan, the Plan Supplement,
documents executed pursuant to this Plan, or the Confirmation Order, on and after the
Effective Date, all Persons who have held, currently hold, or may hold Claims against or
Interests in the Debtors or the Estates that arose prior to the Effective Date (including all
Governmental Units) shall be permanently enjoined from, on account of such Claims or
Interests, taking any of the following actions, either directly or indirectly, against or with
respect to any Debtor, any Estate, any Released Party, the Liquidation Trust, the
Liquidation Trustee, or any of their respective properties or assets: (i) commencing or
continuing in any manner any action or other proceeding of any kind; (ii) enforcing,
executing, collecting, or recovering in any manner any judgment, award, decree, or order,
or attaching any property pursuant to the foregoing; (iii) creating, perfecting, or enforcing
any Lien or encumbrance of any kind; (iv) asserting or effecting any setoff, recoupment, or
right of subrogation of any kind against any Claim or Cause of Action; (v) enjoining or
invalidating any foreclosure or other conveyance of any Property of the Liquidation Trust
or of the Debtors; and (vi) taking any act, in any manner, in any place whatsoever, that
does not conform to, comply with, or that is inconsistent with any provision of this Plan.
Any Person injured by any willful violation of such injunction may recover actual
damages, including costs and attorneys’ fees, and, in appropriate circumstances, may
recover punitive damages from the willful violator. This injunction shall not enjoin or
prohibit (i) the holder of a Disputed Claim from litigating its right to seek to have such
Disputed Claim declared an Allowed Claim and paid in accordance with the Distribution
provisions of this Plan or (ii) any party in interest from seeking the interpretation or

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enforcement of any of the obligations of the Debtors, the Liquidation Trustee, or the
Liquidation Trust under this Plan. The Confirmation Order also shall constitute an
injunction enjoining any Person from enforcing or attempting to enforce any Claim or
Interest or cause of action against any Debtor, any Estate, any Released Party, the
Liquidation Trustee, the Liquidation Trust, or any of their respective properties or assets,
based on, arising from or related to any failure to pay, or make provision for payment of,
any amount payable with respect to any Priority Tax Claim on which the payments due
under this Plan have been made or are not yet due.

        Upon entry of the Confirmation Order, all holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, principals, and direct
and indirect affiliates shall be enjoined from taking any actions to interfere with the
implementation or consummation of the Plan. Each holder of an Allowed Claim, by
accepting, or being eligible to accept, distributions under such Claim, as applicable,
pursuant to the Plan, shall be deemed to have consented to the injunction provisions set
forth in this Article X.E of the Plan.

                F.   Term of Bankruptcy Injunction or Stays

        All injunctions or stays provided for in the Chapter 11 Cases under sections 105 or 362 of
the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in
full force and effect until the Final Distribution Date. All injunctions or stays contained in this
Plan or the Confirmation Order shall remain in full force and effect in accordance with their
terms.

                G. Preservation of Insurance

       Except as otherwise provided herein, the Debtors’ discharge and release from all Claims
as provided herein, except as necessary to be consistent with this Plan, shall not diminish or
impair the enforceability of any insurance policy that may cover Claims against the Debtors,
including its officers and current and former directors, or any other Person.

                H. Other Documents and Actions

        The Debtors or the Liquidation Trustee are authorized and directed to execute such
documents and take such other action as is necessary to effectuate the transactions provided for
in the Plan including, for the avoidance of doubt, prosecuting and defending any appeals related
to the Confirmation Order and any order by the Admiralty Court approving the Sale.

                I.   Guaranties

        Notwithstanding the existence of guaranties by the Debtors of obligations of any Entity
or Entities, and the Debtors’ joint obligations with another Entity or Entities with respect to the
same obligations, all Claims against the Debtors based upon any such guaranties shall be
satisfied and released in the manner provided in this Plan and the holders of Claims shall be
entitled to only one distribution with respect to any given obligation of the Debtors.



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                J.   Subordination Rights

        Any Distributions under the Plan shall be received and retained free of and from any
obligations to hold or transfer the same to any other Claim or Interest holder, and shall not be
subject to levy, garnishment, attachment or other legal process by any holder by reason of
claimed contractual subordination rights, which rights shall be waived and the Confirmation
Order shall constitute an injunction enjoining any Person from enforcing or attempting to enforce
any contractual, legal or equitable subordination rights to Property distributed under the Plan, in
each case other than as provided in the Plan.

                K. No Successor Liability

       Except as otherwise expressly provided in the Plan or the Acquisition Agreements, the
Liquidation Trust, the Liquidation Trustee, each of the Plan Sponsors, and each the Plan
Sponsors’ affiliates (i) does not, pursuant to the Plan or otherwise, assume, agree to perform,
pay, or indemnify or otherwise have any responsibilities for any liabilities or obligations of the
Debtors or any other party relating to or arising out of the operations of or Property of the
Debtors, whether arising prior to, on, or after the Effective Date; (ii) is not, and shall not be, a
successor of the Debtors by reason of any theory of law or equity or responsible for the
knowledge or conduct of any Debtor prior to the Effective Date; and (iii) shall not have any
successor or transferee liability of any kind or character; provided, however, that the Liquidation
Trustee and the Liquidation Trust shall assume the obligations specified in the Plan, the
Liquidation Trust Agreement, the other Liquidation Trust Documents, and the Confirmation
Order.

                L. Free and Clear

         Confirmation of this Plan and the Confirmation Order shall constitute approval of the sale
of substantially all of the Debtors’ assets to the Plan Sponsors, free and clear of all Claims,
Interests, Liens, contractually imposed restrictions, charges, other encumbrances, and liabilities
of any kind or nature whatsoever, including rights or claims based on any successor or transferee
liabilities, pursuant to the Acquisition Agreements included with the Plan Supplement. The
terms of this Article X.L shall be binding on and enforceable against all Persons as a
permanent injunction pursuant to Article X.E hereof.

XI.       EFFECTIVENESS OF THIS PLAN

                A. Conditions Precedent to Confirmation.

       It shall be a condition to confirmation of this Plan that the following conditions shall have
been satisfied or waived pursuant to the provisions of Article XI.C hereof:

                     1.    the Confirmation Order, in form and substance satisfactory to the Plan
                           Proponents in their sole discretion, which shall include, among other
                           provisions, (i) an authorization and direction for the Debtors to take all
                           actions necessary or appropriate to enter into, implement, and consummate
                           the documents created, amended, supplemented, modified or adopted in
                           connection with the Plan, and (ii) a reservation of jurisdiction over the

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                          Sale post-Effective Date, shall have been entered and shall be in full force
                          and effect and there shall not be a stay or injunction in effect with respect
                          thereto;

                    2.    this Plan, the Plan Supplement and all of the schedules, documents, and
                          exhibits contained therein shall have been filed in form and substance
                          acceptable to the Creditors’ Committee and the Plan SponsorsPlan
                          Proponents in their sole discretion.

                B. Conditions Precedent to the Effective Date

        The Plan Proponents intend for the Plan to be effective as soon as reasonably practicable
following the entry of the Confirmation Order. It shall be a condition to the Effective Date of
this Plan that the following provisions, terms and conditions are approved or waived pursuant to
the provisions of Article XI.C:

                    1.    the Confirmation Order, in form and substance acceptable to the Plan
                          Proponents in their sole discretion, which shall include, among other
                          provisions, (i) an authorization and direction for the Debtors to take all
                          actions necessary or appropriate to enter into, implement, and consummate
                          the documents created, amended, supplemented, modified or adopted in
                          connection with the Plan, and (ii) a reservation of jurisdiction over the
                          Sale post-Effective Date, shall be in full force and effect, shall have
                          become a Final Order, and shall not have been amended, modified,
                          reversed, vacated, enjoined or stayed pending appeal;

                    2.    an order of the Admiralty Court approving the Sale to the extent required
                          to be approved pursuant to the Covenants and Conditions, in form and
                          substance acceptable to the Plan Sponsors, shall be in full force and effect,
                          shall have become a Final Order, and shall not have been amended,
                          modified, reversed, vacated enjoined or stayed pending appeal;

                    3.    all authorizations, consents and regulatory approvals required (if any) for
                          this Plan’s effectiveness shall have been obtained;

                    4.    all transactions contemplated in the Acquisition Agreements shall have
                          been consummated;

                    5.    the Creditors’ Committee shall have appointed the Liquidation Trustee,
                          and the Liquidation Trust Agreement and the other Liquidation Trust
                          Documents shall have been executed and delivered; and

                    6.    no order of a court shall have been entered and shall remain in effect
                          restraining the Debtors from consummating the Plan.




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                C. Waiver of Conditions

       The conditions to confirmation of this Plan and to the Effective Date set forth in Article
XI.A. and XI.B. hereof may be waived by agreement of the Creditors’ Committee and the Plan
SponsorsProponents without notice, leave or order of the Court or any formal action other than
proceeding to confirm or consummate this Plan.

                D. Notice of Confirmation and Effective Date

        On or before five (5) Business Days after the occurrence of the Effective Date, the
Liquidation Trustee shall mail or cause to be mailed to all holders of Claims and Interests a
notice that informs such holders of (i) the entry of the Confirmation Order, (ii) the occurrence of
the Effective Date, (iii) the occurrence of the applicable Bar Date, and (iv) such other matters as
the Liquidation Trustee deems appropriate.

                E. Effect of Failure of Conditions

        In the event that the Effective Date does not occur: (a) the Confirmation Order shall be
vacated; (b) no Distributions under thisthe Plan shall be madenull and void in all respects; (c)
the Debtors and all holders of Claims and Interests shall be restored to the status quo ante as of
the day immediately preceding the Confirmation Date as though the Confirmation Date had
never occurred; and (d) the Debtors’ obligations with respect to Claims and Interests shall remain
unchanged and nothing contained in this Plan shall (i) constitute or be deemed a waiver or
release of any Claims against or any Interests in the Debtors or any other Person, (ii) prejudice in
any manner any right, remedy or claim of the Debtors or any Person in any further proceedings
involving the Debtors or otherwise, or (iii) be deemed an admission against interest by the
Debtors or any other Person.

        If the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction over
any request to extend the deadline for assuming or rejecting executory contracts or unexpired
leases.

                F.   Vacatur of Confirmation Order

        If a Final Order denying confirmation of this Plan is entered, or if the Confirmation Order
is vacated, then this Plan shall be null and void in all respects, and nothing contained in this Plan
shall (a) constitute a waiver or release of any Claims against or Interests in the Debtors, (b)
prejudice in any manner the rights of the holder of any Claim against, or Interest in, the Debtors,
(c) prejudice in any manner any right, remedy or claim of the Debtors, or (d) be deemed an
admission against interest by the Debtors.

                G. Revocation, Withdrawal, or Non-Consummation

        The Plan Proponents reserve the right to revoke or, withdraw or delay consideration of
this Plan as to any or all of the Debtors at any time prior to the Confirmation Date either entirely
or as to any one or more of the Debtors, and to file subsequent plans. If the Plan is revoked,
withdrawn or delayed as to fewer than all of the Debtors, such revocation, withdrawal or delay
shall not affect the enforceability of the Plan as it relates to the Debtors for which the Plan is not

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revoked, withdrawn or delayed. If the Plan Proponents revoke or withdraw this Plan pursuant to
this Section XI.G,in its entirety or as to any of the Debtors, or the Confirmation Order is not
entered,Date or the Effective Date does not occur, (i) this Plan shall be null and void in all
respects, (ii) any settlement or compromise embodied in this Plan (including the fixing or
limiting the amount of any Claim or Class of Claims), assumption or rejection of executory
contracts or leases effected by this Plan, and any document or agreement executed pursuant to
this Plan shall be deemed null and void, and (iii) nothing contained in this Plan, and no acts taken
in preparation for consummation of this Plan, shall (a) constitute or be deemed a waiver or
release of any Claims by or against, or any Interests in, the Debtors or any other Person, (b)
prejudice in any manner any right, remedy or claim of any Person in any further proceeding
involving the Debtors or otherwise, or (c) constitute an admission against interest by any Person.

XII.      RETENTION OF JURISDICTION

        The Court shall have exclusive jurisdiction over all matters arising out of, and related to,
the Chapter 11 Cases and this Plan pursuant to, and for the purposes of, section 105(a) and
section 1142 of the Bankruptcy Code and for, among other things, the following purposes: (1) to
hear and determine motions for the assumption or rejection of executory contracts or unexpired
leases pending on the Confirmation Date, and the allowance of Claims resulting therefrom; (2) to
determine any other applications, adversary proceedings, and contested matters pending on the
Effective Date; (3) to ensure that Distributions to holders of Allowed Claims are accomplished as
provided herein; (4) to resolve disputes as to the ownership of any Claim; (5) to hear and
determine timely objections to Claims or Interests; (6) to enter and implement such orders as
may be appropriate in the event the Confirmation Order is for any reason stayed, revoked,
modified or vacated; (7) to issue such orders in aid of execution of this Plan, to the extent
authorized by section 1142 of the Bankruptcy Code; (8) to consider any modifications of this
Plan, to cure any defect or omission, or to reconcile any inconsistency in any order of the Court,
including the Confirmation Order; (9) to hear and determine all applications for compensation
and reimbursement of expenses of Professionals under sections 328, 330, 331 and 503(b) of the
Bankruptcy Code; (10) to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan; (11) to hear and determine disputes
arising in connection with the interpretation, implementation or consummation of any transaction
in connection with an Acquisition Agreements; (12) to hear and determine any issue for which
this Plan requires a Final Order of the Court; (13) to hear and determine matters concerning state,
local, and federal taxes in accordance with sections 346, 505 and 1146 of the Bankruptcy Code;
(14) to hear and determine disputes arising in connection with compensation and reimbursement
of expenses of Professionals for the Debtors, Creditors’ Committee or Equity Committee for
services rendered and expenses incurred during the period commencing on the Petition Date
through and including the Effective Date; (15) to hear and determine any Causes of Action
preserved under this Plan including under Bankruptcy Code sections 544, 547, 548, 549, 550,
551, 553, and 1123(b)(3); (16) to hear and determine any matter regarding the existence, nature
and scope of any injunction issued hereunder; (17) to hear and determine any matter regarding
the existence, nature, and scope of the releases and exculpation provided in Article X of this
Plan; (18) to hear and determine any matter regarding the Liquidation Trust and Liquidation
Trust Documents; (19) to estimate any Claim at any time during the pendency of litigation
concerning any objection to any Claim, including during the pendency of any appeal relating to
any such objection; and (20) to enter a Final Decree closing the Chapter 11 Cases.

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XIII. MISCELLANEOUS PROVISIONS

                A. Payment of Statutory Fees

       All fees payable on or before the Effective Date pursuant to section 1930 of title 28 of the
United States Code and/or section 3717 of title 31 of the United States Code shall be paid by the
Debtors on or before the Effective Date and all such fees payable after the Effective Date shall
be paid by the Liquidation Trustee.

                B. Modification of this Plan

        Subject to the limitations contained in this Plan: (1) the Plan Proponents have the right, in
accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend or modify this Plan
prior to the entry of the Confirmation Order, including amendments or modifications to satisfy
section 1129(b) of the Bankruptcy Code; and (2) after the entry of the Confirmation Order, the
Creditors’ Committee may, upon order of the Court, amend or modify this Plan, in accordance
with Sectionsection 1127(b) of the Bankruptcy Code.

                C. Dissolution of Creditors’ Committee and Equity Committee

        The Creditors’ Committee and Equity Committee shall continue in existence until the
Effective Date to exercise those powers and perform those duties specified in section 1103 of the
Bankruptcy Code. On the Effective Date, the Creditors’ Committee and Equity Committee shall
each be dissolved and its members shall be deemed released of all their duties, responsibilities
and obligations in connection with the Chapter 11 Cases or this Plan and its implementation, and
the retention or employment of the Creditors’ Committee’s and Equity Committee’s attorneys,
financial advisors, and other agents shall terminate as of the Effective Date; provided, that, the
Creditors’ Committee’s and Equity Committee’s attorneys and financial advisors shall be
entitled to pursue their own Professional Fee Claims and represent the Creditors’ Committee and
Equity Committee in connection with the review of and the right to be heard in connection with
all Professional Fee Claims.

                D. Votes Solicited in Good Faith

        The Creditors’ Committee has, and upon confirmation of this Plan shall be deemed to
have, solicited acceptances of this Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code including, without limitation, sections 1125(a) and 1125(e) of
the Bankruptcy Code and any applicable non-bankruptcy law, rule or regulation governing the
adequacy of disclosure in connection with such solicitation. The Debtors (and each of their
respective affiliates, agents, directors, managers, officers, members, employees, advisors, and
attorneys) have participated in good faith and in compliance with the applicable provisions of the
Bankruptcy Code in the offer and issuance of the securities offered and sold under this Plan and,
therefore, are not, and on account of such offer and issuance will not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of this Plan or the offer and issuance of any securities under the Plan.




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                E. Request for Expedited Determination of Taxes

       The Debtors or Liquidation Trustee shall have the right to request an expedited
determination under section 505(b) of the Bankruptcy Code with respect to tax returns (other
than federal tax returns) filed by any of them, or to be filed by any of them, for any and all
taxable periods ending after the Petition Date throughon or before the Effective Date.

                F.   Governing Law

       Unless a rule of law or procedure is supplied by Federal law (including the Bankruptcy
Code and Bankruptcy Rules), the laws of the State of Florida shall govern the construction and
implementation of this Plan, any agreements, documents, and instruments executed in connection
with this Plan (except as otherwise set forth in those agreements or instruments, in which case
the governing law of such agreements shall control). Corporate governance matters shall be
governed by the laws of the state of incorporation or formation of the applicable Debtor.

                G. Filing or Execution of Additional Documents

       On or before the Effective Date, the Debtors and the Liquidation Trustee shall file with
the Court or execute, as appropriate, such agreements and other documents as may be necessary
or appropriate to effectuate and further evidence the terms and conditions of this Plan.

                H. Section 1146 Exemption

        To the fullest extent permitted under section 1146(a) of the Bankruptcy Code, the
issuance, transfer or exchange of any security under the Plan, if any, or the execution, delivery or
recording of an instrument of transfer under the Plan, or the revesting, transfer or sale of any real
or other Property of or to the Debtors or the Liquidation Trust, shall not be taxed under any state
or local law imposing a document recording tax, stamp tax, conveyance fee, sales tax, intangibles
or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, or other similar tax or fee or governmental assessment.
Consistent with the foregoing, each recorder of deeds or similar official for any county, city or
Governmental Unit in which an instrument hereunder is to be recorded shall, pursuant to the
Confirmation Order, be ordered and directed to accept such instrument, without requiring the
payment of any documentary stamp tax, deed stamps, stamp tax, transfer tax, mortgage recording
tax, intangible tax or similar tax. Without limiting the foregoing, the transfer of all assets under
the Acquisition Agreements to the Plan Sponsors shall be deemed made under and subject to the
terms of this Plan and shall be entitled to the protections afforded under Sectionsection 1146(a).

                I.   Section 1145 Exemption

        To the fullest extent permitted under section 1145 of the Bankruptcy Code, the issuance
of any interests in the Liquidation Trust on or around the Effective Date shall be exempt from the
registration requirements of Sectionsection 5 of the Securities Act of 1933, as amended, and any
and all federal, state and local laws requiring the registration or licensing of an issuer,
underwriter, broker or dealer in such securities.



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                J.   Time

        Unless otherwise specified herein, in computing any period of time prescribed or allowed
by the Plan, the day of the act or event from which the designated period begins to run shall not
be included. The last day of the period so computed shall be included, unless it is not a Business
Day, in which event the period runs until the end of next succeeding day that is a Business Day.
OtherwiseUnless otherwise expressly provided, the provisions of Bankruptcy Rule 9006 shall
apply.

                K. No Admissions or Waivers

        Prior to the occurrence of the Effective Date, and notwithstanding anything herein to the
contrary, nothing contained in the Plan or the taking of any action by the Debtors related to the
Plan shall be deemed an admission or waiver by any Person with respect to any matter set forth
herein, including, without limitation, liability on any Claim or Interest or the propriety of any
classification of any Claim or Interest.

                L. Exhibits/Schedules

        All exhibits and schedules to this Plan and the Plan Supplement are incorporated into and
constitute a part of this Plan as if set forth herein.

                M. Notices

       All notices, requests, and demands hereunder to be effective shall be in writing and
unless otherwise expressly provided herein, shall be deemed to have been duly given or made
when actually delivered or, in the case of notice by facsimile transmission, when received and
telephonically confirmed, addressed as follows:

                     To the Debtors:

                            RMS Titanic, Inc.
                            c/o Troutman Sanders LLP
                            600 Peachtree Street NE, Suite 5200
                            Atlanta, GA 30308
                            Attention: Harris Winsberg and Matthew Ray Brooks
                            Tel: (404) 885-3000, Fax: (404) 885-3900

                            with copies to:

                            Nelson Mullins Riley & Scarborough LLP
                            50 N. Laura Street, Suite 4100
                            Jacksonville, FL 32202
                            Attention: Daniel F. Blanks
                            Tel: (904) 665-3656, Fax: (904) 665-3699

                            Kaleo Legal
                            4456 Corporation Lane, Suite 135

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                          Virginia Beach, VA 23462
                          Attention: Brian A. Wainger
                          Tel: (757) 965-6804, Fax: (757) 304-6175

                   To the Creditors’ Committee:

                          Official Committee of Unsecured Creditors of RMS Titanic, Inc. and its
                          debtor affiliates
                          c/o Storch Amini PC
                          140 East 45th Street, 25th Floor
                          New York, NY 10017
                          Attention: Jeffrey Chubak
                          Tel: (212) 497-8247, Fax: (212) 490-4208

                          with copies to:

                          Thames Markey & Heekin, P.A.
                          50 N. Laura Street, Suite 1600
                          Jacksonville, FL 32202
                          Attention: Richard R. Thames and Robert A. Heekin, Jr.
                          Tel: (904) 358-4000, Fax: (904) 358-4001

                   To the Equity Committee:

                          Official Committee of Equity Security holders of Premier Exhibitions, Inc.

                          c/o Landau Gottfried & Berger LLP
                          1801 Century Park East, Suite 700
                          Los Angeles, CA 90067
                          Attention: Peter J. Gurfein
                          Tel: (310)-691-7374, Fax: (310) 557-0056

                          with copies to:

                          Akerman, LLP
                          50 N. Laura Street, Suite 3100
                          Jacksonville, FL 32202
                          Attention: Jacob A. Brown and Katherine C. Fackler
                          Tel: (904) 798-3700, Fax: (904) 798-3730.

                   To the DIP Lender:

                          Bay Point Capital Partners, LP
                          c/o Thompson Hine LLP
                          3560 Lenox Road, Suite 1600
                          Atlanta, GA 30326
                          Attention: Garrett A. Nail and John F. Isbell
                          Tel: (404) 541-2900, Fax: (404) 541-2905

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                    To Trustees of the National Maritime Museum:

                           Trustees of the National Maritime Museum
                           c/o Davis Polk & Wardwell LLP
                           450 Lexington Avenue
                           New York, NY 10017
                           Attention: Timothy Graulich and Jacob Weiner
                           Tel: (212) 450-4639, Fax: (212) 450-5573

                    To Board of Trustees of National Museums and Galleries of Northern Ireland:

                           Cleaver Fulton Rankin
                           50 Bedford Street
                           Belfast, BT2 7FW
                           Attention: Nathan Campbell and Michael Black
                           Tel: +44 028 9024 3141

                    To Running Subway:

                           Running Subway Productions, LLC
                           c/o Blank Rome LLP
                           One Logan Square
                           130 North 18th Street
                           Philadelphia, PA 19103
                           Attention: Joel Charles Shapiro
                           Tel: (215) 569-5746, Fax: (215) 832-5746

                N. Further Actions; Implementations

        The Debtors or the Liquidation Trustee shall be authorized to execute, deliver, file or
record such documents, contracts, instruments, releases and other agreements and take such other
or further actions as may be necessary to effectuate or further evidence the terms and conditions
of this Plan. From and after the Confirmation Date, the Debtors or the Liquidation Trustee shall
be authorized to take any and all steps and execute all documents necessary to effectuate the
provisions contained in this Plan.

                O. Severability

        If, prior to the entry of the Confirmation Order, any term or provision of this Plan is held
by the Court to be invalid, void, or unenforceable, the Court shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of this Plan will remain in full force and effect and will in no way be affected,
impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of this


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Plan, as it may have been altered or interpreted in accordance with the foregoing, is valid and
enforceable pursuant to its terms.

                P.   Entire Agreement

       Except as otherwise indicated, this Plan and the Plan Supplement supersede all previous
and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into this Plan.

                Q. Binding Effect

       This Plan shall be binding on and inure to the benefit of the Debtors’ Estates, the holders
of Claims against and Interests in the Debtors, and each of their respective successors and
assigns, including the Liquidation Trustee, and all other parties in interest in the Chapter 11
Cases.

                R. Substantial Consummation

        On the Effective Date, this Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code; provided, however, that nothing herein shall
prevent the Creditors’ Committee, the Plan Sponsors, or any other party in interest from arguing
that substantial consummation of this Plan has occurred prior to the Effective Date.

                S.   Conflict

        The terms of this Plan shall govern in the event of any inconsistency with the summaries
of this Plan set forth in the Disclosure Statement. In the event of any inconsistency or ambiguity
between and among the terms of this Plan, the Disclosure Statement, and the Confirmation
Order, the terms of the Confirmation Order shall govern and control. If a particular term of the
Plan (including any exhibits, schedules or Plan Supplement hereto) conflicts with a particular
term of the definitive documentation required to be implemented pursuant to the terms of the
Plan or any settlement or other agreement contemplated hereunder, the definitive documentation,
settlement or other agreement shall control and shall be binding on the parties thereto.

                T. Closing of Chapter 11 Cases

        The Liquidation Trustee shall, promptly after the full administration of the Chapter 11
Cases, file seek authority from the Bankruptcy Court to close the Chapter 11 Cases in accordance
with the Bankruptcy Code and the Bankruptcy Rules, including filing with the Court all
documents required by Bankruptcy Rule 3022 and any applicable order of the Court to close the
Chapter 11 Cases.




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Dated: June 29August 28, 2018      OFFICIAL COMMITTEE OF UNSECURED
                                   CREDITORS


                                   By:
                                          Name: Thomas Braziel
                                          Title: Chairman




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Dated: June 29August 28, 2018      THE TRUSTEES OF THE NATIONAL
                                   MARITIME MUSEUM


                                   By:
                                          Name: Kevin Fewster
                                          Title: Director




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Dated: June 29August 28, 2018      RUNNING SUBWAY PRODUCTIONS, LLC


                                   By:
                                          Name: James R. Sanna
                                          Title: CEO




                          [Signature Page – Amended Plan]
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Dated: June 29August 28, 2018            THE BOARD OF TRUSTEES OF NATIONAL
                                         MUSEUMS AND GALLERIES OF NORTHERN
                                         IRELAND


                                         By:

                                                Name: _________________________

                                                Title: _________________________




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                              Summary report:
    Litéra® Change-Pro TDC 10.1.0.320 Document comparison done on
                            8/28/2018 4:58:35 PM
Style name: Color Legislative+Moves+HF
Intelligent Table Comparison: Active
Original DMS: iw://DMS/AmericasActive/91107226/1
Modified DMS: iw://DMS/AmericasActive/91107226/4
Changes:
Add                                                   150
Delete                                                125
Move From                                             11
Move To                                               11
Table Insert                                          0
Table Delete                                          0
Table moves to                                        0
Table moves from                                      0
Embedded Graphics (Visio, ChemDraw, Images etc.)      0
Embedded Excel                                        0
Format changes                                        0
Total Changes:                                        297
